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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ROBERT T. BROCKMAN,                                 )
          Plaintiff,                                )
                                                    )       Case No. 22-cv-00202
v.                                                  )
                                                    )
UNITED STATES OF AMERICA                            )
          Defendant.                                )

    UNITED STATES’ RESPONSE IN OPPOSITION FOR DETERMINATION ON
    COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY
     ASSESSMENT AND JEOPARDY LEVY PURSUANT TO 26 U.S.C. § 7429 1




1
  The United States recognizes that its Response exceeds this Court’s 25-page limit for typical motions
and memorandums of law, and in an abundance of caution, the United States requested additional pages
in its Motion to Extend Page Limits (Dkts. 17, 20) and Motion for Expedited Ruling (Dkt. 18). The Court
has not yet ruled on that request. However, this case is not typical, and therefore, this Response is not
typical. The Plaintiff filed a complaint and motion under 26 U.S.C. § 7429 seeking judicial review of the
reasonableness of an IRS jeopardy assessment and levy for $1.4 billion in tax liability. Section
7429(b)(3) requires the Court to make a determination within 20 days after this proceeding was
commenced - or by February 9, 2022. The Court’s determination is de novo and not limited review of an
agency record. The proceeding is summary in nature and the Court is not required to hold a hearing or a
trial. Although the United States has the burden of proof on the issues raised in this case, this Response
may be the only opportunity to explain the law for the Court, present its case and respond to the
Plaintiff’s arguments. In light of the special nature of this case, to allow for a reply by the Plaintiff, and to
give the Court time to review the parties’ submissions before the February 9, 2022 deadline, the United
States’ believes it is necessary to file this Response while its motion for leave is still pending and in
accordance with the additional pages requested therein. (Dkts. 17, 18, 20).


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                                    INTRODUCTION

       At over $1.4 billion in tax, fraud penalties, and interest owed, this case represents

the largest jeopardy assessment/levy case in the history of the United States. The scale of

Robert T. Brockman’s (“Brockman”) fraudulent activity, which utilized (and is utilizing)

dozens of alter egos, foreign trusts, nominees, and other tax avoidance vehicles

established in several known tax-haven jurisdictions to avoid reporting over $2.7 billion

in income, is unprecedented. Brockman used tax avoidance vehicles to control a vast

corporate empire while ostensibly owning very little in his own name. Brockman’s “own

nothing, control everything” strategy is unraveling, and the time has now come for him to

pay what he owes.

       The Internal Revenue Code and Regulations authorize the Internal Revenue

Service (“IRS”) to bypass normal assessment and collection procedures in cases where it

appears that collection may be rendered ineffective or “jeopardized” if collection efforts

are delayed. In such a case, 26 U.S.C. § 6861 and the applicable regulations authorize

the IRS to immediately determine the amount of the tax due, serve notice of the jeopardy

assessment on the taxpayer, demand payment, and levy upon a taxpayer’s property.

Here, the IRS made a jeopardy assessment against Brockman for income taxes, fraud

penalties, and interest totaling $1,418,272,371.71 for the 2004-2007, 2010, and 2012-

2018 tax years. Then, the IRS filed Notices of Federal Tax Liens and issued levies to

collect Brockman’s outstanding tax liabilities. This conduct goes back more than 20

years and is continuing today with additional movement of assets by Brockman after

learning that he was under investigation.

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                                                ISSUE

        Whether the IRS’s jeopardy assessment and levy against Brockman is reasonable

under the circumstances?

                                      LEGAL AUTHORITY

        In response to the IRS’ jeopardy assessment, Brockman has filed suit under 26

U.S.C. § 7429 which grants him a very limited judicial review of the jeopardy assessment

and levy. The Court’s review is summary and is not subject to appeal. 2 And it is limited

to two questions: (1) whether the jeopardy action is reasonable under the circumstances,

and (2) whether the amount assessed is appropriate. 3 The determination is not designed

to establish Brockman’s ultimate liability for the taxes at issue; that is accomplished in a

later proceeding in Tax Court, Claims Court, or a United States district court where he

may also pursue refund claims for amounts collected under the jeopardy procedures.

Here, Brockman does not challenge the amount of the jeopardy assessments and appears

to have recently filed a petition in Tax Court for that purpose.

        As explained more fully below, Section 7429 does not require a full evidentiary

hearing. 4 The Court conducts a summary proceeding where both parties present

information which may be affidavits, exhibits or other forms. 5 The United States bears

the burden of proving the jeopardy assessment and levy are reasonable under the

circumstances, but the taxpayer bears the burden on the amount assessed. 6 Given the


2
  26 U.S.C. § 7429(f).
3
  26 U.S.C. §§ 7429(b)(3) and (f).
4
  Hecht v. United States, 609 F. Supp. 264, 266 (S.D.N.Y. 1985).
5
  See Harvey v. United States, 730 F. Supp. 1097, 1104 (S.D. Fla. 1990).
6
  26 U.S.C. § 7429(g)(l).

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summary nature and time constraints of the Section 7429 review proceeding, the parties

may rely on evidence that would not be admissible in a civil or criminal trial. 7 Further,

because the Court’s determination is de novo rather than deference to agency discretion,

the United States may also rely on any relevant fact or information even if it was not

known or considered at the time the IRS made its administrative determination. 8

        Courts have determined that “reasonable under the circumstances” means

something more than not arbitrary and capricious and something less than supported by

substantial evidence. The standard is not rigorous and has been described as similar to

probable cause in a criminal case. The inquiry focuses on appearances and may include

whether the taxpayer appears to be planning to depart from the United States to conceal

himself; appears to be designing to conceal, dissipate or place his property beyond the

reach of the government; or it appears his financial solvency is imperiled. 9

                                             SUMMARY

        As shown below, for years Brockman has engaged (and is currently engaged) in a

complex strategy of concealing the ownership of his assets, the effect of which is to

egregiously understate his taxable income. Brockman’s long history of hiding his assets

using foreign trusts, foreign corporations, and nominees to layer up ownership supports

the IRS’s belief that his current actions are ways to keep or further place assets out of the

reach of the IRS. As a result, the IRS’s jeopardy assessment is reasonable and

7
  See Harvey, 730 F. Supp. at 1104
8
  Wellek v. United States, 324 F. Supp. 2d 905, 911 (N.D. Ill. 2004).
9
  Treas. Reg. § 301.6861-1; Treas. Reg. § 1.6851-1(a)(1). There are two other parts to the test under the
Treasury regulations but these are not at issue in this case.


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appropriate under the circumstances.

       Brockman’s offshore scheme started with the creation of the A. Eugene Brockman

Charitable Trust (“AEBCT” or the “Trust”), formed in Bermuda in 1981. 10 Together

with AEBCT, his strategy uses dozens of offshore entities, including a multitude of sham

trusts, corporations, LLCs, and other entities. Although Brockman outwardly owns none

of these entities, he controls them all. This is accomplished by his use of hand-picked

trustees and trust “protectors” that he controls. The complexity, breadth, and sheer

audacity of Brockman’s offshore structure is precisely what allowed him to evade over a

billion dollars in taxes and enabled him to use the offshore system as his personal piggy

bank. 11 Brockman’s complex offshore empire is illustrated on Government Exhibit. 3.

       As is more fully described below and in the attached Jeopardy Report, 12

Brockman’s concealment and efforts to place his property outside of the reach of the

United States’ tax authorities is stunning. Moreover, these efforts are continuing. He

appears to be designing quickly to place his property beyond the reach of the government

by maintaining his property offshore, transferring it from one tax haven to another,

concealing it, dissipating it, or transferring it to other persons, including family members.

       For example, after learning he was under criminal investigation by at least April of



10
   Brockman directed the name of the Trust be changed from its original “A. Eugene Brockman
Children’s Trust” to “A. Eugene Brockman Charitable Trust.” Brockman was concerned about potential
IRS scrutiny of having “Children’s” in the trust name because of the news of the potential criminal
prosecution of Texas-based billionaires Sam Wyly and Charles Wyly for tax evasion involving offshore
trusts. Gov. Exs. A-78, A-85 at pg. ET_0000012144-12245. See In re Wyly, 552 B.R. 338, 391-394
(Bankr. N.D. Tex. 2016)
11
   Gov. Ex. 3.
12
   See Gov. Ex. 2.

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2020, 13 Brockman transferred his community property interest in one of his Houston,

Texas properties to his wife, Dorothy Brockman. After his indictment on October 1,

2020, 14 at Brockman’s direction, Mrs. Brockman sold this property for $1.375 million.

The Brockmans sold another Houston, Texas property for $4.1 million, and their

residence (Brockman’s address of record with the IRS) is currently listed for sale for

$15.35 million. Brockman closed several bank accounts and withdrew at least

$3,182,030 in 2020 from his other accounts. Sometime in 2020 Brockman created two

new foreign trusts with foreign bank accounts in the Cayman Islands and transferred

funds to them from U.S. sources. Post-Brockman’s indictment, Mrs. Brockman (i) gifted

another $3.567 million property to her daughter-in-law, and (ii) sold securities in excess

of $9 million. It was also recently discovered that post-indictment Brockman sold his 1%

in Hardwicke (ownership of his jet) and his interest in the yacht Albula (see below).

       Mrs. Brockman, acting on Brockman’s behalf, also filed suit in Bermuda that

resulted in the removal of the current Bermuda trustee of AEBCT (St. John’s Trust

Company (“SJTC”)), and appointment of a new Cayman Islands-based trustee chosen by

Mrs. Brockman. Brockman did not domesticate the AEBCT or its control to the United

States. Instead, through Mrs. Brockman, he moved the AEBCT and its control to another

tax haven, (Cayman Islands), subject to another tax haven’s laws (Bermuda) where a U.S.



13
   In April of 2020, Brockman’s attorneys contacted the attorneys for the United States Department of
Justice requesting that the United States not indict Brockman. See Case 3:20-cr-00371-WHA Dkt. # 64 at
pg. 4, lns. 16-20.
14
   Brockman was indicted in California on charges of federal tax evasion, wire fraud, money laundering,
evidence tampering, destruction of evidence, and failure to file FBARs. Gov. Ex. A-90. This case was
transferred to Houston. United States v. Brockman, Case No. 4:21-cr-00009 (S.D. Tex. 2021).

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judgment for taxes may be unenforceable.

                                   PROCEDURAL POSTURE

        Prior to the jeopardy assessments, a delegate of the Chief Counsel of the IRS

approved, in writing, the jeopardy assessments and collection actions against Robert

Brockman. 15 On September 7, 2021, the IRS made a jeopardy assessment against

Brockman for taxes, fraud penalties and interest for a total of $1,418,272,371.71 for the

2004-2007, 2010, and 2012-2018 tax years. 16 On September 9, 2021, Brockman was

personally served with the IRS Notice of Jeopardy Assessment and Rights to Appeal. 17

On October 7, 2021, Brockman filed a Request for Administrative Review of the Notice

of Jeopardy Assessment and Rights to Appeal (“Administrative Appeal”). 18 Brockman

did not challenge or contest the amounts of the IRS jeopardy assessments in his

Administrative Appeal. On October 27, 2021, IRS Office of Appeals, determined that

the jeopardy assessments were reasonable. 19 On January 20, 2022, Brockman filed this

suit seeking judicial review of the jeopardy assessment and levy. On January 21, 2022,

Brockman filed his motion for determination. Brockman has not challenged the amount

of the jeopardy assessments in his complaint or motion for determination. Thus, the

amounts of the jeopardy assessments are not an issue before this Court. The case is ripe

for adjudication and this Court should uphold the jeopardy assessments and levies.



15
   Gov. Ex. 1 Agent Paxton’s declaration at ¶ 62.
16
   Id.
17
   Gov, Ex, 24 Sandles’ declaration at ¶ 24.
18
   Gov. Ex. 35.
19
   Gov. Ex. 36.


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             OVERVIEW OF BROCKMAN’S OFFSHORE STRUCTURE

I.     Brockman’s creation and use of his complex offshore system to evade his tax
       obligations led to the jeopardy assessment and levies.
       Brockman graduated in 1963 with a Bachelor of Science degree in business

administration from the University of Florida. In 1964, he started his career in marketing

at the Ford Motor Company. From 1966 to 1970, he worked as an IBM sales associate in

the Houston, Texas branch office, selling automotive parts inventory and accounting data

processing services to car dealerships. Brockman made his billions in the auto industry,

forming several companies integral to his offshore scheme:

       Universal Computer Systems Inc. (“UCS”): In 1970, Brockman left IBM and

founded his original company UCS, headquartered in Houston, Texas, to provide data

processing services to auto dealerships (e.g., preparing weekly reports of their parts

inventory). Successor UCS companies developed and installed computer-based

dealership management software packages for large dealerships and dealership groups.

Brockman served as chairman and CEO of UCS and its affiliated companies.

       Universal Computer Systems Holding Inc. (“UCSH”): In 1987, Brockman

formed UCSH as a Delaware corporation that is currently the parent holding company of

Dealer Computer Systems Inc., the Reynolds & Reynolds Company, and other affiliated

U.S. and foreign subsidiaries involved in Brockman’s businesses. Brockman served as

CEO of UCSH until he resigned following his indictment. 20 Brockman owns UCSH

through a series of foreign entities he controls, including the AEBCT, Spanish Steps


20
  Shortly after his indictment, on November 6, 2020, Brockman resigned from leadership positions of his
companies. Gov. Exs. A-90, A-92. See also Gov. Ex. 7 pgs. 14 and 15.

                                                   7
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Holdings LLC, and Spanish Steps Holdings Ltd. 21

           Dealer Computer Systems Inc. (“DCS”): DCS is a Delaware corporation with

its principal place of business in Houston, Texas and provides computer software and

hardware systems, supporting auto dealerships’ parts and repair operations. UCS and

DCS merged in 2001, with DCS as the surviving entity post-merger. DCS is currently a

wholly owned subsidiary of UCSH.

           The Reynolds and Reynolds Company (“R & R”): Reynolds & Reynolds is an

Ohio corporation headquartered in Dayton, Ohio with operations in the U.S., Canada,

United Kingdom, and Europe. R & R develops software used by automotive dealers and

manufacturers and distributes industry business forms and promotional items. In 2006,

UCSH acquired R & R and merged the operations of the two companies under the R & R

brand. Brockman served as chairman and CEO of the combined companies until he

resigned following his indictment.

           Brockmans’ control over these U.S. companies’ ownership is concealed by his

offshore structures: AEBCT (Trust) owns 100% of Spanish Steps Holdings LLC, which

owns 100% of Spanish Steps Holdings Ltd., that in turn owns 99.173% of Universal

Computer Services Holding (“UCHS”), which owns 100% of Dealer Computer Services

Inc., (“DCS”), and that owns 100% of R & R. 22

      A.       Brockman’s offshore structure
           Most of Brockman’s assets are held (a) by offshore trusts and holding companies,



21
     Gov. Ex. A-11. See also Gov. Ex. 1 at ¶ 25, (structure chart).
22
     Gov. Ex. 2 at pgs. 5-8. See also Gov. Ex. 1 at ¶ 25, (structure chart).

                                                         8
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or (b) through an intentionally convoluted ownership structure designed to both conceal

his ownership and underreport his taxable income. 23 Using this structure, during the

period from 2004 through 2018, Brockman failed to report approximately $2.7 billion of

income on his tax returns, consisting of unreported investment income and gains—

derived from private equity funds formed by Brockman with his former business

associate, Robert Smith (“Smith”) of Vista Equity Partners (“Vista Equity”), a $635

million distribution from UCSH characterized as a non-taxable redemption, as well as

other investing activity personally directed by Brockman. 24

        In October 2020, Smith entered a Non-Prosecution Agreement with the United

States admitting to willfully evading U.S. tax and filing false returns for 2000 through

2015. 25 Smith admitted to engaging in an illegal scheme to conceal income and evade

taxes by using an offshore trust structure with related foreign corporations and offshore

bank accounts. Smith’s offshore structure was similar to Brockman’s because he

recommended the arrangement to Smith. Brockman referred Smith to Houston-based

attorney, Carlos Kepke, who advised Brockman regarding the use of offshore entities, to

set up Smith’s offshore structure. Kepke was indicted for conspiracy and assisting in the

filing of a materially false income tax return related to Smith.26

        Beginning in the mid-1980s, Brockman established a myriad of sham foreign

trusts and companies for concealment and to avoid U.S. income tax. Brockman


23
   See Gov. Ex. 3 (Structure Chart).
24
   Gov. Ex. 2 at pgs. 10, 14, 17, 43 and 44.
25
   Gov. Ex. A-93.
26
   Gov. Ex. A-94.

                                               9
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appointed nominee 27 directors, trustees, and trust protectors while controlling all offshore

entities and use of assets. The offshore entities were managed by trust companies, and

transaction “recommendations” by Brockman were provided to these companies through

several “protectors.” While cloaked as mere “recommendations,” in fact, these directives

were always followed (see discussion infra for examples).

        Brockman used his substantial untaxed proceeds held in his offshore entities for

personal purposes. He bought vacation homes, investment real estate, a jet aircraft, and a

luxury yacht, discussed infra.

        1.      Brockman initially concealed his ownership using trusts formed in the
                Massengill family name
        Brockman originally held ownership of his offshore entities through trusts formed

in the names of his former employee Don Jones’ wife’s family members (“Massengill

Trusts”). 28 This was designed to conceal Brockman’s connection to the entities.

        Brockman compensated Don Jones for the use of the Massengill Trusts. 29

Brockman used the following Massengill Trusts before replacing them with other trusts:

        • Massengill Grandchildren’s Trust (replaced by Point Purpose Trust to hold
        ownership of Point Investments Ltd.); 30

27
   The use of nominees to secretly hold property for true beneficial owners and shield it from tax
collection is not permitted under U.S. law. Property is held by a nominee when someone other than the
taxpayer has legal title but, in substance, the taxpayer enjoys the benefits of ownership. Oxford Capital
Corp. v. United States, 211 F.3d at 284. A third party is the taxpayer's nominee where “the taxpayer has
engaged in a legal fiction by placing legal title to property in the hands of a third party while actually
retaining some or all of the benefits of true ownership.” Holman v. United States, 505 F.3d 1060, 1065
(10th Cir.2007). See also, Black's Law Dictionary 1072 (7th ed.1999) (defining nominee as “[a] party
who holds bare legal title for the benefit of others”).
28
   Gov. Ex. A-59 (Don Jones wrote in an email to Evatt Tamine that “Income will be $200,000 per year to
an entity of my choice as long as the Jones/Massengill entities are involved with the Brockman entities in
any way. When they are only handling their affairs the compensation will cease”).
29
   Id.
30
   Gov. Exs. A-15, A-16.

                                                   10
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        • Massengill Children’s Trust (replaced by Edge Purpose Trust to hold ownership
        of Edge Capital Investments Ltd.); 31
        • Louise C. Massengill Family Trust (replaced by Cabot Purpose Trust to hold
        ownership of Cabot Global Investments Ltd.). 32

        2.      Brockman used various trustees and directors as his nominees
        Brockman controls the AEBCT and the entities it owns through nominees that are

ostensibly trustees of the trusts or directors of the corporate entities. The structure is

generally the same for all of Brockman’s assets. The assets are held by offshore entities,

which are themselves owned or held by entities located in different foreign countries.

This second entity is held by the AEBCT or another, separate trust in yet another foreign

country. The sole director of each of these entities is the same person, and this person is

also the trustee of the trust that is at the top of the structure. This person answers directly

to Brockman and does not act without Brockman’s approval.

        From 2003 until 2018, this person was Evatt Tamine (“Tamine”). 33 Prior to

Tamine the duties were divided between Gordon Howard and Don Jones. In an affidavit

sworn to on July 4, 2020, and filed with the Supreme Court of Bermuda, Tamine

explained that Brockman controlled the AEBCT and his related offshore entities: “. . .

Mr. Brockman gave very detailed instructions directing the administration of the [Trust]

and all the other entities that were associated with him” and “Brockman was intimately

involved in every aspect of the administration of the Brockman trust, and it was



31
   Gov. Exs. B-10, B-11, B-12.
32
   Gov. Exs. C-4, C-5.
33
   Gov. Ex. A-48 at ¶¶ 1, 51, 52, 60, 92, 99 and Gov. Ex. 34, Tamine test. at pg 3-92, ln. 18 to pg. 3-93 at
ln.10.

                                                     11
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administered exclusively as his direction.” 34

        Gordon Howard: Gordon Howard was the trustee of the AEBCT until Tamine

took over in 2010. Brockman told Tamine that, “Gordon’s presence in regard to the

[AEBCT] is desirable for making things smell good in the course of an inquiry, but is not

absolutely necessary.” 35 In 2010, Brockman personally directed Tamine to replace

Howard as the director of SJTC, which was the trustee of the AEBCT. 36

        Don Jones: Jones worked as CFO for UCSH until 1995. Jones then relocated to

Bermuda to manage Brockman’s offshore entities. 37 As noted above, Brockman initially

held his assets in the Massengill Trusts (formed in the name of Jones’ wife’s family

members) that were eventually replaced with trusts created by Tamine.

        Evatt Tamine: Brockman hired Tamine in 2003. He worked with Don Jones and

assumed more responsibility over time until Jones retired in 2010. At Brockman’s

direction, Tamine also replaced Gordon Howard as the director of the SJTC when

Howard died, thus becoming the trustee of the AEBCT. 38 Tamine is an Australian

national. He is a barrister in Australia but lived in Bermuda where the AEBCT was

located. 39 As noted below, Tamine detailed how Brockman controlled his entities, 40 and

explained that nothing material happened with respect to the AEBCT that was not




34
   Gov. Ex. A-48 ¶¶ 98–99. Gov. Ex. 34, Tamine testimony at pg, 3-94, ln. 4 to pg. 3-95 at ln.18.
35
   Gov. Ex. A-55.
36
   Id. Gov. Ex. A-56 at MLATSW_835 and ET_0001761242 (pg. 4).
37
   Gov. Ex. A-48, at ¶ 81.
38
   Id. ¶ 140.
39
   Id. at ¶ 1.
40
   Gov. Ex. A-48 in particular ¶¶ 52, 57, 63, 64, 78, 92, 97, 98, 99 140, 143.

                                                    12
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ordered or approved by Brockman. 41 Tamine was the trustee or director of all

Brockman’s offshore entities.

        3.      Brockman maintained control over directors, trustees, trust protectors,
                and other service providers
        Tamine described his role as the “figure head” of the AEBCT and other trusts and

that he held “the key directorships” to “control the information.” 42 Tamine stated that he

undertook this role to maintain Brockman’s control over these entities (for Brockman’s

“benefit and protection”). 43

        The previous trustee of the AEBCT, Gordon Howard, who served as trustee until

his death in August 2010, similarly did not exercise a fiduciary or managerial role for the

AEBCT, but was directed by Brockman. 44 As noted above, Brockman told Tamine that

Howard’s presence was desirable for “making things smell good” but is not “absolutely

necessary.” 45 Brockman personally directed that Tamine replace Howard as trustee of

the AEBCT, and Brockman drafted or approved letters ostensibly written by Tamine to

third parties as trustee of the AEBCT. 46

        Along with giving specific directions, Brockman controlled Point Investments Ltd.

and the AEBCT and related entities by having “doomsday documents” on file. 47 These



41
   Id. ¶ 99. Gov. Ex. 34, Tamine testimony at pg. 3-95 at lns. 12-18.
42
   Gov. Ex. A-80, ¶ 18.
43
   Gov. Ex. A-53, in particular ¶ 3(i).
44
   Gov. Ex. A-48, ¶ 60 (“Gordon Howard did not perform any executive role at all. All decisions were
made by Mr. Brockman and implemented by Don Jones, with Mr. Howard providing the corporate
formalities where required, acting entirely on Don Jones’ instructions. This continued after I later took on
Don Jones’ role”).
45
   Gov. Ex. A-55.
46
   Gov. Ex. A-56.
47
   Gov. Ex. A-57. See also Gov. Ex. ¶¶ 132-134.

                                                     13
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documents consisted of undated, pre-signed letters of resignation from Tamine for all

applicable entities and pre-signed letters of resignation from all trustees and trust

protectors. 48 Tamine’s duties included “Annually verify that there are letters of

resignation from all trustees and that Bob [Robert Brockman] has the originals.” 49 This

allowed (and may still allow Brockman to immediately replace these individuals if

needed. Brockman also had copies of electronic signatures of Tamine and trustees and

trust protectors of other trusts so that he could use their electronic signature to sign

documentation relating to the entities. 50

       Brockman maintained control by communicating with Tamine at in-person

meetings as well as telephone, encrypted email, secure messaging, and using code names

for himself, Tamine and others. 51 For example, Brockman used the code name

“Permit,” 52 while Tamine used the code name “Redfish. 53 Brockman also created to-do

lists for Tamine that were updated at least monthly. 54

       Brockman controlled Tamine by controlling Tamine’s compensation, which

included both discretionary and incentive bonuses that Brockman granted based upon

Tamine achieving Brockman’s investment goals and other objectives. 55 Brockman and

Tamine discussed Tamine’s 2014 compensation package between March and May



48
   Id.
49
   Gov. Ex. A-51.
50
   Gov. Exs. A-48 (¶ 129), A-58.
51
   Gov. Ex. 48 at . ¶¶ 66,122. See Gov. Ex. A-85 at pg. ET_0000015036-15037 (pgs. 11-12).
52
   Gov. Ex. A-85 at pg. ET_0000015036-15037.
53
   Id.
54
   Gov. Ex. A-51.
55
   Gov. Exs. A-52 and A-53.

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2014. 56 Brockman increased Tamine’s salary and bonus potential. He also agreed to a

separate retirement fund with a $1 million Brockman contribution made each

December. 57 During these discussions, Tamine acknowledged and complained that he

was subject to risk of IRS investigation. 58 He requested that Brockman provide

additional compensation to purchase a home in Sydney, Australia, as well as provide a

litigation contingency fund. 59 Tamine complained that “You have the assets of Cabot

and Edge to provide financial support in the event they go after the AEBCT. I have

nothing and I would not be able to tap into Cabot and Edge as it would draw attention to

those entities. If I am targeted I have to be cut loose by you in relation to Cabot and Edge.

I understand and accept that risk, but I am badly exposed.” 60 Brockman eventually

agreed to provide a litigation contingency fund for Tamine as well as funds for Tamine to

purchase a home in Australia. 61 To further obscure their relationship, Brockman’s

entities paid Tamine through his company, Tangarra Consultants, Ltd. (“Tangarra”), 62

     B.      Brockman’s offshore entities
          In 1981, Brockman’s father, A. Eugene Brockman, formed the AEBCT and

funded it with $25,000 for the benefit of his children which included Brockman.

However, the Trust instrument allowed “any and all persons” – including beneficiaries -

to add property to the Trust Fund (corpus) and purports to make the beneficiaries’ rights


56
   Gov. Exs. A- 52, A-53 .
57
   Gov. Ex. A-52.
58
   Id.
59
   Id.
60
   Gov. Ex. A-53.
61
   Gov. Exs. C-7, A-52, C-22.
62
   Gov. Ex. 48. at ¶ ¶ 18, 73, 74, 77 and Gov. Ex. 34, Tamine test. at pg 3-92, ln. 24 to pg. 3-93 ln. 5.

                                                      15
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to receive distributions subject to broad spendthrift language and anti-alienation terms

aimed at preventing creditors from attaching to the beneficiary’s interest in the AEBCT.

The Trust purports to give the Trustee the discretion to make all investment,

management, and distribution decisions. The Trust gave the “Trust Protector” the power

to replace the Trustee. 63 Initially, Brockman was the Trust Protector, but later he named

and controlled the Trust protector through the “doomsday documents.” 64 In effect,

Brockman had complete control over the trust. It is through this Trust that Brockman ran

part of his multi-billion-dollar empire and was the genesis of his carefully crafted scheme

to avoid reporting and paying his substantial tax liabilities.

        At the heart of this scheme was the creation of a group of offshore entities (trusts,

corporations, LLCs) in several tax haven jurisdictions including Bermuda, Cayman

Islands, Nevis, Switzerland, Singapore, Guernsey, Jersey, British Virgin Islands, and Isle

of Man. 65

        Three of Brockman’s entities served as the focal point of this structure: Point

Investments Ltd. (“Point Investments”), Edge Capital Investments Ltd. (“Edge

Investments”), and Cabot Global Investments Ltd. (“Cabot Investments”). Although

Brockman formed these entities for his personal investing activity, Brockman failed to

report his ownership of the entities or the entities’ foreign bank accounts on his tax

returns or information return forms.



63
   Gov. Ex. 4 (Trust Indenture), page 1, (Trust Protector can replace Trustee with or without cause).
64
   Gov. Ex. A-57 at ET_0000054300.
65
   Gov. Exs. A-63, A-64. See also Gov. Ex. 3.

                                                    16
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       1.      Point Investments
       In 1999, Brockman formed Point Investments in the British Virgin Islands (later

re-domiciled in Bermuda) 66 to invest as a limited partner in various private equity funds

formed by Brockman with Robert Smith of Vista Equity. Brockman held foreign bank

accounts at Butterfield Bank (Bermuda), Bermuda Commercial Bank ( Bermuda)

(“BCB”), Mirabaud & Cie (Geneva, Switzerland), Banque SYZ (Geneva, Switzerland),

and Bank of Singapore (Singapore) in the name of Point Investments and related

entities. 67 During the years 2004 through 2018, Brockman used Point Investments to

avoid U.S. income tax on approximately $2.3 billion of net capital gains, $29 million in

interest income, and $5.9 million in dividends. 68

       Brockman holds beneficial ownership of Point Investments through an

unnecessarily complex web of offshore trusts and foreign entities. Each of those foreign

trusts and entities were under the nominal control of Tamine, who answered solely to

Brockman. In particular, the stock for Point Investments was divided into voting shares

and investment shares. 69 The common/voting shares of Point Investments were held

100% by the nominee company Point Investments LLC, 70 which was held 100% by the

Point Purpose Trust. 71 For the common (voting) shares, Tamine was the director of Point

Investments. 72 Tamine was also the director of Providence Trust Company (PVT) Ltd. in


66
   Gov. Ex. A-25 at 8.
67
   Gov. Exs. A-5 through A-9.
68
   Gov. Ex. 2 at pgs. 10, 43 and 44.
69
   Gov. Ex. A-25 at 11, ¶ 4.
70
   Gov. Ex. A-11, A-14, and A-15.
71
   Gov. Ex. A-12 (originally held by the Massengill Grandchildren’s Trust, Gov. Exs. A-14 and A-15).
72
   Gov. Ex. A-11, Organizational Chart from Bermuda search.

                                                  17
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Nevis, which was the trustee of the Point Purpose Trust that owned Point Investments

LLC in Nevis. 73 That entity held the common share of Point Investments in Bermuda. 74

The investment shares of Point Investments were held by Brockman-controlled foreign

entities, Spanish Steps Holdings Ltd. and Spanish Steps Holdings LLC, 75 which were

held 100% by the AEBCT. 76 Point Investments’ unnecessarily complex web of offshore

ownership is illustrated below:




       Point Investments invested in private equity funds managed by Vista Equity.

Vista Equity organized funds as limited partnerships to mainly invest in U.S.-based

software companies and technology-related businesses. 77 It also served as general


73
   Gov. Exs. A-11, A-12, A-13, A-15, and A-16. See also Gov. Ex. 5 at ¶19.
74
   Gov. Ex. A-11.
75
   Gov. Ex. 5 at ¶¶ 1, 16, 17, 18 and 19; Gov. Ex. A-302 at 4.
76
   Gov. Ex. A-13, Letter to UK Compliance Officer; Gov. Ex. A-201, Point Investments’ application for
bank account at Mirabaud & Cie at 14; Gov. Ex. A-202, Declaration of beneficial owner of Point
Investment’s bank account at Mirabuad & Cie; Gov. Ex. A-302, SSH application for bank account at
Mirabaud & Cie at ET_0001775889 (pg. 2).
77
   Gov. Ex. 1 Agent Paxton’s declaration at ¶¶ 13, 14, 15, 17, 18 and 19.

                                                  18
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partner of the limited partnerships and managed funds while Brockman, through Point

Investments, held limited partner interests in the investment funds.

        In 2000, Brockman committed to invest $300 million in Vista Equity Funds II, LP.

In 2004, this capital commitment was increased by $700 million, for a total $1 billion

commitment. Brockman made similar capital commitments to other Vista Equity funds

during the relevant years: he committed another $952 million in capital to Vista Equity

Partners Fund III, LP ($100 million), Vista Foundation Fund I, LP ($90 million), Vista

Equity Partners Fund IV, LP ($612 million), and Vista Equity Partners Fund IV Co-

Invest 2-A, LP ($150 million). 78 Brockman, through Point Investments, made his capital

contributions by transferring the money to the Vista Equity funds from his bank accounts

at BCB and Mirabaud. 79

            a.      Brockman maintained control over the investing activity conducted
                    by Point Investments and related entities
        A recent affidavit prepared by Tamine, dated July 4, 2020, was filed in litigation

in the Supreme Court of Bermuda involving the AEBCT. 80 Tamine’s affidavit explains

(i) his employment for Brockman from 2004 to 2018 and his role in managing

Brockman’s offshore entities at Brockman’s direction, and (ii) that Brockman controlled

all related offshore entities despite the appointment of nominee shareholders, trustees,

corporate directors, or trust protectors. Tamine explained that Brockman gave Tamine

and other nominees instructions by phone, encrypted emails, secure messaging, meetings,



78
   Gov Ex. 2 at pg. 13.
79
   Gov. Ex. A-10.
80
   Gov. Ex. A-48.

                                             19
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“to do” lists, and performance reviews. 81

       Tamine stated that Brockman controlled the AEBCT and related offshore entities:

               Mr. Brockman gave very detailed instructions directing the administration
               of the Brockman Trust and all the other entities that were associated with
               him . . . [Brockman] made all the substantive and strategic decisions and he
               directed others to implement them. Nothing material ever happened in
               relation to the Brockman Trust that was not ordered or approved by Mr.
               Brockman, either in writing or orally. 82

       At Brockman’s request, Tamine tracked significant transactions (all transactions in

excess of $100,000) to and from the bank accounts for Brockman-controlled entities in an

Excel spreadsheet called “Significant Transaction Report” (“STR”) and provided the

report to him regularly. 83 The report was to be divided into separate tabs “for each of the

four major structures.” 84 Brockman monitored and commented on the monthly cash

report prepared by Tamine for Point Investments, the AEBCT, and other Brockman-

controlled entities. 85

       As noted, Brockman provided directions to Tamine in the form of “to-do” lists and

performance reviews. Brockman’s list of duties for Tamine included “Continue to

address the projects on the To-Do List” and “Update the To-Do list at least monthly.” 86

The to-do lists were updated from time to time with items being removed when

completed and new items being added.

       Brockman documented his specific instructions to Tamine related to Vista Equity


81
   Id. at ¶ 97.
82
   Id. at ¶¶ 98-99.
83
   See Gov. Exs. A-49, A-50. See also Gov. Exs. A-9, A-10.
84
   Gov. Ex. A-49.
85
   Gov. Exs. A-49, A-50.
86
   Gov. Ex. A-51.

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funds under the “Vista Equity Fund” and “Investments” sections of the to-do list he

prepared for Tamine. For example, Brockman’s May 21, 2011 to-do list for Tamine

mentioned “consider $200M initial commitment to VEPFIV – awaiting partnership

agreement from Vista” and “also consider co-invest fund that invests alongside Vista

deals” under the Vista Equity Fund section and “VFF $50M commitment” under the New

Investments section. 87

          Brockman reviewed and gave approvals for Tamine to make the capital

commitments and capital calls for each Vista Equity fund by transferring funds from

Point Investments’ bank accounts. For example, Tamine emailed Brockman on August

4, 2011, requesting approval to contribute $1,180,097 to Vista Equity Partners Fund III,

LP on a capital call and Brockman replied with approval by email on August 9, 2011:

“OK BB”. 88 The table below outlines Gov. Ex. A-47, which contains a sample of emails

where Brockman approved capital calls.

             Date            Fund                    Capital Call Description               Page
 Dec. 8–9, 2010           VFF I        “Big Machines”                                       1–2
 Dec. 17, 2010            VEPF III     Management fees                                       3
 Dec. 21–22, 2020         VFF I        Management fees                                       4
 July 28–Aug. 9, 2011     VEPF III     Aderant – CompuLaw LLC                                5
 Sep. 12, 2011            VEPF III     Tamine notes that he only made the payment without    6
                                       approval because of deadline.
 Oct. 11–12, 2011         VEPF III                                                           7
 Nov. 3–6, 2011           VEPF III     Zywave acquisition of Emerging Information Systems    8
 Jan. 3–7, 2012           VEPF IV      Management Fees                                       9
                          and VFF I
 Jan. 6–7, 2012           VEPF III     Management Fees for first half of 2012                10

87
     Gov. Ex. A-54.
88
     Gov. Ex. A-47.

                                            21
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             Date            Fund                       Capital Call Description             Page
 Jan. 10–17, 2012         VEPF IV      Thomson Reuters’ Trade and Risk Business Investment    11
 Jan. 24–26, 2012         VEPF III     Public company investment                              12
 Mar. 7–8, 2012           VEPF IV      CDC Software                                           13
 Apr. 9–15, 2012          VFF I        Essential Learning LLC                                 14
 May 30–June 4, 2012      VEPF IV      Public company investment                              15
 May 31, 2012             VEPF III     Public company investment                              16
 Jul 10–14, 2012          VEPF III     Management fees                                        17
 Sep. 23–25, 2012         VEPF IV      Point investment increase                              18
 Sep. 23–25, 2012         VFF I        Big Machines                                           19
 Nov. 30–2012             VEPF IV      Public company investment                              20
 Dec. 9, 2012             VFF I                                                               21
 Mar. 21, 2013            VFF I        Partnership expenses. Brockman requires explanation    22
                                       of tax expense prior to funding
 Jul. 10, 2013            VEPF III,    Bullhorn, Inc.                                         23
                          VFF I
 Jul. 12–13, 2013         VEPF III     Public company investment                              24
 Jul. 12–13, 2013         VEPF IV      Vitera acquisition of SuccessEHS, Inc.                 25
 Jul 12–13, 2013          VEPF III,    Management Fees for second half of 2013                26
                          IV VFF I,
                          VEPF IV,
                          VFF II
 Oct. 24–29, 2013         VEPF IV      Greenway                                               27
 Oct. 24–29, 2013         VEPF IV      Omnitracs                                              28
 Dec. 13–15, 2013         VFF II                                                              29
 Jun. 12–16, 2014         VFF II       Autotask                                               30
 Jun. 20–24, 2014         VEPF IV      Convery Compliance Systems                             31
 Dec. 25–26, 2014         Vista V      TIBCO                                                  32
 Mar. 27–28, 2015         VFF II                                                              33
 Apr. 14–18, 2016         VFF II-A                                                            35
 Jul. 3–5, 2016                        Management fees                                        36

          Another example is a June 10, 2014, email in which Tamine emailed Brockman to

ask whether he was interested in investing in debt from a company called Websense. 89

89
     Gov. Ex. A-70.

                                             22
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On June 11, 2014, Brockman responded that he was interested as “long as we have that

much dry powder in SSHLTD [Spanish Steps Holdings LTD],” with the further

explanation that he needed to have $250 million available to give to Centre College. 90

           b.      Brockman controlled Point Investments and the AEBCT by
                   directing the location of the accounts
       Brockman instructed Tamine regarding the location of Point Investments and

AEBCT bank accounts. 91 Brockman was also given the user id and bank passwords so

he could personally access the accounts. 92 Some of these communications took place in

April of 2020, after Brockman was aware that he was under investigation.

           Date                                        Description                                Page
 May 31–June 1, 2012         Emails about how to temporarily invest funds in accounts                  1
                             at Mirabaud & Cie.
 June 5, 2010                Tamine giving Brockman the usernames and passwords                        2
                             for the Point and Spanish Steps accounts at Mirabaud.
 Apr. 26, 2011               Brockman directing Tamine how to move funds for                           3
                             AEBCT, Edge, and Cabot
 Jun. 6, 2012                Tamine transmitting and explaining Point financial                        4
                             statement to Brockman
 Mar. 8–Apr. 19, 2021        Tamine email to Brockman discussing moving funds out                  5–8
                             of Bermuda based banks and into Switzerland to avoid
                             asset freezing orders and investment risk

       When Brockman and Tamine were notified in July 2017 that the bank accounts

held at BCB were frozen due to pending investigations, Brockman authorized setting up

new banking relationships in separate jurisdictions along with other steps to conceal his


90
   Id.
91
   Gov. Ex. A-61 ( a sample of emails showing Brockman using Tamine as a nominee to exercise control
over bank accounts for Point Investments, Spanish Steps, Edge Investments, and Cabot Investments).
92
   Id.; see also Gov. Ex. A-204.

                                                 23
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investing activity and offshore structure. 93 In a memorandum to Brockman, Tamine

proposed keeping the Point Investments’ accounts in Switzerland and explained that,

although he and other individuals served as director, trustee, manager, or trust protector

of Brockman’s offshore entities, Brockman retained complete control over the assets and

activities conducted by these entities. The memorandum laid out a plan where Tamine

plans to transfer each of the large structures -- the AEBCT, Point Investments, Edge

Investments, Cabot Investments, and Regency Management -- to separate jurisdictions to

avoid regulators. The same memorandum discusses hiding money with an attorney in

Australia for living expenses and legal fees if there was an investigation of Brockman or

Tamine. The stated reason for doing this is the investigation of Robert Smith of Vista.

Brockman responds in an email that he concurs with all of Tamine’s suggestions. 94

       2.      Edge Investments
       Edge Investments was formed in the 1990s as Edge Investment Fund Ltd. in the

British Virgin Islands. 95 In 2008, the company was renamed as Edge Capital Investments

Ltd. and incorporated in Nevis. 96 During the relevant years (2009-2018), Brockman held

bank accounts in the name of Edge Investments at BCB and Mirabaud. During these

years, Brockman, through Edge Investments, avoided U.S. income tax on approximately

$18.5 million in interest income and $49.2 million in unreported capital gains. 97

       Brockman holds beneficial ownership of Edge Investments through his ownership


93
   Gov. Exs. A-63, A-64
94
   See Gov. Exs. A-63, A-64, A-65.
95
   Gov. Exs. B-4 through B-9.
96
   Id.
97
    Gov. Ex. at pgs. 14, 43 and 44

                                             24
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of two foreign trusts, Alpheus Charitable Trust and Edge Purpose Trust, and various

foreign corporations. Like Point Investments, each of the foreign entities in Edge

Investments ownership structure were under the nominal control of Tamine, who

answered solely to Brockman. The common/voting shares of Edge Investments were

held 100% by the nominee company Wilbury Management LLC (held 100% by the Edge

Purpose Trust). 98 The investment/beneficial shares were held by the Brockman-

controlled entity, Cascade Holdings LLC (held 100% by the Alpheus Charitable Trust)

(“Cascade”). 99 Edge Investments held 100% ownership of Augustus Investments LLC, a

Delaware LLC. 100 Edge Investments complex layered ownership is illustrated as

follows:




98
   See Gov. Exs. B-10, B-11, B-12.
99
   The investment shares of Edge Investments were previously held by additional Brockman-controlled
foreign companies: Legend Investments LLC, Cascade Holdings LLC, Platoon Investments LLC, and
Addington Trading LLC. See Gov. Ex. B-13. Brockman instructed Tamine to consolidate these entities
and ownership was held by Cascade Holdings LLC.
100
    See Gov. Exs. B-13, B-14.

                                                 25
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             a.      Brockman personally directed the investments of Edge Investments
        Brockman directed and controlled the decision making for Edge Investments and

Tamine carried out his investing activity. No other purported director, trustee, trust

protector, or manager was consulted or involved in the decision making. As with Point

Investments, Tamine’s memorandum to Brockman also covers Edge Investments and

explained that although he and other individuals served as director, trustee, manager, or

trust protector of Brockman’s offshore entities, Brockman retained complete control over

the entities’ assets and activities. 101 Brockman agreed. 102 Among the investments

Brockman used Edge Investments for was to hide his involvement in purchasing R & R

debt on the secondary market, which allowed him to earn interest income and make a

profit when the loans were repaid at full face value by his own company. 103

        3.        Cabot Investments
        Cabot Investments was originally formed in the British Virgin Islands. 104 In 2008,

the company was renamed Cabot Global Investments Ltd. and incorporated in Nevis. 105

During the relevant years, Brockman held bank accounts in the name of Cabot

Investments at BCB and Mirabaud. 106 During the 2011 through 2017, Brockman,

through Cabot Investments, avoided tax on approximately $49.6 million in interest

income and $3.9 million in unreported capital gains. 107


101
    Gov. Ex. A-48, in particular ¶¶ 52, 57, 63, 64, 78, 92, 97, 98, 99 140, 143
102
    Gov. Ex. A-63 and A-64.
103
    Gov. Exs. B-19, B-20, and B-23.
104
    See, e.g., Gov. Exs. C-4, C-12.
105
    Gov. Ex. C-12.
106
    Gov. Ex. C-21.
107
    Gov. Ex. 5.

                                                     26
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        Brockman holds beneficial ownership of Cabot Investments through an

unnecessarily complex web of offshore trusts, foreign and domestic entities. Each of

those foreign trusts and entities were under the nominal control of Tamine, who answered

solely to Brockman. The common/voting shares of Cabot Investments were held 100%

by the nominee company Strummer Management LLC (held 100% by the Cabot Purpose

Trust). 108 The investment/beneficial shares were held by the Brockman-controlled entity,

Addington Trading LLC (held 100% by the Messery Charitable Trust). 109 Cabot

Investments held 100% ownership of Spartacus Investments LLC, a Delaware LLC.110

Cabot Investments complex layered ownership structure is as follows:




            a.       Brockman controlled Cabot Investments by personally directing the
                     use and investment of assets.
        As with Point Investments and Edge investments, Tamine’s memorandum to


108
    Gov. Exs. C-3, C-4, C-5.
109
    Gov. Ex. C-5.
110
    Id.; see also Gov. Ex. C-3.

                                            27
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Brockman explained that Brockman retained complete control over Cabot Investments,

and Brockman agreed. As an example, Tamine’s March 19, 2013 to-do list included a

“New Investments” section which listed the companies whose debt Cabot Investments

would be investing in: Vision Solutions, Applied Systems, Misys, The Petroleum Place,

SumTotal, Deltek Inc. 111 Tamine leveraged his experience with the debt investing on

behalf of Edge Investments and established contacts for the purpose of debt investing on

behalf of Cabot Investments. 112 Brockman also controlled Cabot Investment entities

though the “doomsday documents” previously discussed, and he had copies of electronic

signatures of Tamine and trustees and trust protectors of other trusts. 113

        Brockman monitored the regular reports provided by Tamine. For example, by

email dated March 6, 2011, Tamine forwarded a report to Brockman on the investment

made by Cabot Investments in Sunquest debt and the interest paid and noted that they

“are yet to close the latest Sunquest debt purchase.” 114 Tamine asked Brockman if he

would like any changes to the report and informed Brockman that he will send the report

“each month and will add the debt of other companies that we buy.” 115 Brockman replied

by email to Tamine that the “report format looks fine” and that they “would need separate

reports depending on who purchases the debt – Cabot, Edge, or Point.” 116

        At Brockman’s request, Tamine maintained detailed accounting records for Cabot



111
    Gov. Ex. C-10.
112
    Gov. Ex. C-12.
113
    Gov. Exs. A-57, A-48, A-58, C-13.
114
    Gov. Ex. C-15.
115
    Id.
116
    Id.

                                              28
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Investments, provided monthly financial statements and reports to Brockman for review

and comment. 117 Tamine conducted a “semi-annual financial review of all entities face

to face by the end of the first half of the year” with Brockman. 118 As with the other

offshore entities, Tamine tracked for Brockman significant bank transactions to and from

the bank accounts for Cabot Investments in the STR and regularly provided it to

Brockman. 119

        Tamine acknowledged that the assets of Cabot Investments were controlled and

belonged to Brockman. By email dated April 24, 2011, Brockman instructed Tamine to

convert funds held in bank accounts (balances in accounts held in the name of “Cabot-

Spartacus-Schwab”) from U.S. dollars to Canadian dollars. 120 Tamine replied that same

day and stated, “Bob, I’ll start the process immediately. Should I start looking for debt

opportunities in the Canadian market? Evatt,” and Brockman responded “Evatt, Once you

get this done, then that would be appropriate. Bob.” 121

        By email dated April 26, 2011, Brockman told Tamine that he was okay with

leaving the Cabot funds in the Charles Schwab account, rather than transferring those

funds to Switzerland and converting to Canadian dollars. 122 Brockman stated, “Moving

Edge and Cabot Schwab funds – we would not want to do to Mirabaud – and getting set

up with another Swiss bank will take too long. Bob.” 123 Tamine’s May 16, 2012 to-do


117
    See Gov. Exs. C-16, C-1.2.
118
    Gov. Ex. C-9.
119
    Gov. Ex. C-7.
120
    Gov. Ex. C-18.
121
    Id.
122
    Gov. Ex. C-19.
123
    Id.

                                             29
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list included a statement under “Trips” that Tamine was to “finish Cabot/Edge bank

accounts in Switzerland.” 124

           During 2013, Tamine and Brockman continued to discuss opening an account for

Cabot Investments in Switzerland and moving funds from Bermuda to Switzerland to

reduce their exposure in Bermuda. Tamine stated that he was working on opening an

account for Cabot at Mirabaud (Switzerland) and that as far as the bank was concerned,

Brockman’s controlled entity, Addington LLC (entity holding 100% of Cabot

Investments) was held by charitable trusts and that “It took some time, but Mirabaud are

comfortable with the explanations.” 125 Brockman replied to Tamine that he was happy

Tamine could transfer such large funds out of Bermuda Commercial Bank “with so little

hassle.” 126

      C.        Brockman used his offshore entities to fund asset purchases for personal
                purposes
           1.      Brockman purchased a luxury yacht with offshore funds from Cabot
           During 2014, Brockman became interested in purchasing a luxury yacht named

“Turmoil” for his personal use and instructed Tamine to inspect and pursue acquisition of

the yacht. 127 Turmoil (renamed the “Albula” by Brockman) is a 63.7 meter/209-foot

motor yacht that can accommodate up to 16 guests and 14 crew. Brockman used $34.8

million in funds from Cabot Investments to purchase the yacht and for maintenance costs.

           To purchase the yacht, Brockman instructed Tamine to conceal that Brockman



124
    Gov. Ex. C-20 at ET_0000054307.
125
    Gov. Ex. C-21 at ET_0001943978.
126
    Id.
127
    Gov. Exs. C-23, C-24, C-25, C-26. See also Gov. Exs. C-35, C-36.

                                                  30
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was the interested party and that the “entities” Tamine represented were interested in a

yacht in the $24 million dollar range. 128 Yet, Brockman decided the offer price for the

yacht and when to withdraw this offer. 129 Brockman authorized Tamine to begin

working with a Cayman Islands-based lawyer about forming an offshore structure to hold

ownership of the yacht. 130 On May 5, 2015, Brockman emailed Tamine that “The name

of the purchasing entity for Turmoil should be ‘Fisheries Research Foundation.’ The new

name for Turmoil would be ‘Fisheries Research I.’ From a strategy standpoint, I am

trying to figure out how to stay out of a bidding war. This means that there has to be a

closing bid – where the brokers are convinced that it is a final bid.” 131

        Brockman also emailed Tamine an updated employment agreement with UCSH to

include a provision to base Brockman’s compensation off EBITDA 132 rather than pre-tax

income, which would provide additional funds for Brockman to charter the yacht. 133 To

further conceal his personal use, Brockman agreed with the suggestion to purportedly

charter the yacht to Brockman’s business associates, Robert Smith and Al Deaton, while

using his offshore funds to reimburse them.

        Brockman’s to-do for Tamine dated January 18, 2015, included “[o]wnership and

operation of the Turmoil” among his list of tasks. 134 Brockman outlined the ownership

structure and stated that a charitable foundation will be established with funds to


128
    Gov. Ex. C-27.
129
    Gov. Exs. C-33 and 34. and Gov. Ex. 34, Tamine testimony at pg, 3-97, ln. 7-16.
130
    Gov. Exs. C-28, C-29.
131
    Gov. Ex. C-30.
132
    “EBITDA” means “Earnings before interest, taxes, depreciation, and amortization.”
133
    Gov. Exs. C-31, C-32.
134
    Gov. Ex. C-43.

                                                  31
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purchase and operate the yacht and the purpose of the foundation will be purportedly

“fisheries conservation.” 135

        On January 29, 2016, Tamine made a $34 million offer on Brockman’s behalf for

the Turmoil yacht. 136 On May 22, 2016, Brockman instructed Tamine to falsely suggest

that the yacht would be used for exploration/marine research. 137 Brockman and Tamine

continued to pursue the acquisition of the Turmoil and were able to acquire ownership of

the yacht in 2016. 138

        On November 8, 2016, $3.5 million was transferred from the Cabot Investments’

Mirabaud account to Alley Maass Rogers and Lindsay Escrow. On December 22, 2016,

an additional $29,345,725.39 was transferred to complete the purchase. 139 On December

29, 2016, $1 million was transferred to MTS Yachts Fisheries Research I. 140 The

transactions were recorded in Cabot Investments’ accounting records as “redemption by

Addington for Donation to Fisheries Research Foundation” rather than as Brockman’s

personal expense or distributions. 141

        The yacht was renamed the “Albula”, and ownership was held in the Brockman-

controlled, Cayman Islands’ company named Fisheries Research Foundation Ltd. 142

Brockman’s foreign ownership structure and funding of his yacht’s purchase,



135
    Id.
136
    Gov. Ex. C-37, in particular at MLATSW _017177 and 17209
137
    Gov. Ex. C-38.
138
    Gov. Ex. C-37.
139
    Gov. Ex. C-45. See also Gov. Exs. C-7 and C-39.
140
    Id.
141
    Gov. Ex. C-39.
142
    See Gov. Ex. C-44 in particular at ¶ 2.

                                               32
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improvements, and operating costs (amounting to approximately $43.8 million) is

described as follows: 143




           Transfers from Cabot Global Investments Swiss Mirabuad Account
           Date          Amount          to whom                               Comment                                      Evidentiary Cite
              11/7/2016    $3,500,000.00 Alle Maass Rogers and Linsay Escrow   Transfer from Cabot for Deposit on Turmoil    C-7, C-45
             12/22/2016 $29,345,705.00 Alle Maass Rogers and Linsay Escrow     transfer from Cabot for closing on Turmoil    C-7, C-45
             12/29/2016    $1,000,000.00 MTS Yachts Fisheries Research Acct.   Operating Costs for Fisheries Research        C-7, C-45
              2/20/2017    $1,000,000.00 MTS Yachts Fisheries Research Acct.   Operating Costs for Fisheries Research              C-7
              3/22/2017    $2,242,308.11 MTS Yachts Fisheries Research Acct.                                                C1-1.2, at MLATSW_021800
                7/4/2017   $1,641,600.92 MTS Yachts Fisheries Research Acct.                                                C1-1.2, at MLATSW_021803
              2/28/2018    $1,801,860.00 MTS Yachts Fisheries Research Acct.
              6/22/2018    $3,335,900.85 MTS Yachts Fisheries Research Acct.

           Total          $43,867,374.88


          After the acquisition, Brockman used the yacht for his personal use and he

personally supervised the maintenance and operations of the yacht. For example,

Brockman reviewed and approved the yacht’s hull painting, on-board medical equipment

for his wife, and the yacht crew’s performance reviews. 144

          Similar to his other assets, Brockman used Tamine as his nominee to conceal his

ownership and control of Albula. The Albula crew, other yacht owners, and marina



143
      Gov. Ex. 1 Revenue Agent’s Declaration at ¶¶ 38, 39, and 40.
144
      Gov. Exs. C-40, C-41, C-42.

                                                                    33
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personnel knew that Brockman was Albula’s true owner, as evidenced by inquiries

Tamine received. As a result, Brockman and Tamine concocted a story to conceal

Brockman’s ownership by claiming that the yacht was majority owned by a charitable

trust and Brockman was only a minority owner with exclusive rights of usage. 145

        In June of 2017, Brockman and Tamine were aware of United States’ Department

of Justice’s criminal investigation of Robert Smith, Brockman’s partner in the Vista

Equity funds. Brockman and Tamine knew the yacht’s ownership placed a “target” on

them, such that hiding the true ownership of the yacht was paramount to keep

Brockman’s activities from being discovered by the government. 146

        2.        Brockman’s Colorado property
             a.     Regency Management (holding real estate in Colorado)
        Brockman continued his obfuscation by using nominees, foreign trusts, multiple

layering of entities, and washing transactions to hide his true and beneficial ownership of

his Colorado real estate. In 1998, Brockman formed Regency Management in the British

Virgin Islands (later re-incorporated in Bermuda). Brockman holds ownership of

Regency Management through the foreign trust, Heraclides Charitable Trust. 147

        From 2003 to the present, Brockman transferred proceeds from his unreported

income in Edge Investments and Cabot Investments into Regency Management to

purchase and develop real estate in Colorado for his personal use. 148 Brockman formed

several U.S. companies (Mountain Queen Inc., Henke Holdings, and Henke Property

145
    Gov. Ex. C-36.
146
    Id. at MLATSW_020480 and 020481.
147
    Gov. Ex. B-42.
148
    Gov. Exs. C-46, C-47, C-48, C-49.

                                            34
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LLC) 149 to hold title to the properties to shield his connection and ownership of the

properties, illustrated below:




        In 2010, Brockman told Tamine he wanted to increase his investments in Colorado

real estate by putting more funds into Regency Management. 150 Thus, on December 16,

2010, Brockman caused $15 million to be transferred via an “intra bank transfer” from

Edge Investments’ Bermuda account, to Regency Management’s Bermuda account. 151

Brockman then directed that Regency Management wire transfer $265,000 on December

149
    Id.
150
    Gov. Ex. B-41 at ET_0000043809.
151
    Gov. Exs. B1.30 (Jan 2011) and C-46.

                                             35
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17, 2010, 152 and $4,731,019 on December 23, 2010, 153 to complete the purchase of the

“Frying Pan Canyon Ranch” aka “Tie Camp Ranch,” in Eagle County, Colorado.154 The

Tie Camp Ranch consisted of three parcels, 120 Ash Rd., Basalt CO, 6081 Frying Pan

Rd., Basalt, CO, and Frying Pan Road. Further hiding his ownership, Brockman titled

the Tie Camp Ranch in Henke Property even though Henke Property did not provide the

funds to purchase the Tie Camp Ranch as the funds came directly from Regency and

ultimately Edge Investments. 155

            b.      Henke Holdings LLC/Henke Property LLC
        Henke Holdings, a Colorado LLC , was formed by Brockman on September 9,

2005. Henke Property LLC (“Henke Property”), a Colorado LLC, was also formed and

is 100% owned by Henke Holdings. Regency Management (Bermuda) is listed as the

100% shareholder of Henke Holdings on its federal corporate tax returns. 156 However,

Brockman does not disclose his beneficial ownership and control of Regency

Management. Between 2005 and 2010 Brockman acquired several properties in Colorado

and held title to the properties in the name of Henke Property.

        For example, in early May 2010, Brockman, through Regency Management and

Henke Property, purchased Prehm Ranch, consisting of 35 acres in Glenwood Springs,

Colorado (“Prehm Ranch”) for approximately $539,000. 157 Brockman approved the



152
    Gov. Ex. B-39.
153
    Gov. Ex. B-40.
154
    Gov. Exs. B-35, C-47.
155
    Gov. Exs. C-46, C-47, and C-48.
156
    Gov. Ex. B-60.
157
    Gov. Ex. 1, Agent declaration at ¶¶ 33- 36 and C-47.

                                                    36
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purchase and set the purchase price of the Prehm Ranch property. 158 Brockman also

dictated that the funds to purchase Prehm Ranch would come from Regency

Management. 159 Brockman, however, placed the title to Prehm Ranch in Henke Property

rather than in his own name or Mountain Queen, Inc. From 2010 – 2016, Regency

transferred over $24,000,000 from its Bermuda bank account to Henke Property to

purchase and maintain Brockman’s Colorado Real Estate. 160

           c.     Mountain Queen Inc.
        Mountain Queen Inc. (“Mountain Queen”), a Colorado Corporation was

incorporated by Brockman on April 30, 1998 and first filed a federal corporate tax return

in 2003. Regency Management is listed as the 100% shareholder of Mountain Queen. 161

        In 2003, Brockman acquired a vacation home in Aspen, Colorado and held title in

the name of Mountain Queen. In 2004 Brockman acquired additional parcels also held in

the name of Mountain Queen. Brockman’s business associate, Al Thorpe, served as

president of Mountain Queen until his death in 2013, he was replaced by Carl Linnecke

with Brockman’s approval. 162

           d.     Brockman’s control of Henke Holdings and Mountain Queen
        Similar to his control of his offshore entities, Brockman retained and exercised

complete control over the properties held in the Regency Management structure. The

presence of nominee corporate officers of Mountain Queen and Henke Holdings (Alfred



158
    Gov. Ex. C-49.
159
    Gov. Ex. C-50, at ET_0001760281 and Gov. Ex. C-47.
160
    Gov, Ex, 24 Sandles’ declaration at ¶ 16.
161
    Gov. Ex. B-61.
162
    Gov. Ex. C- 50.

                                                37
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Thorpe and later Carl Linnecke) merely created the appearance that Brockman was not

associated with the structure to conceal his ownership and control over the properties.

Brockman’s ownership and control of the properties can be seen in the following areas:

(i) Brockman had exclusive right to use the properties; (2) Brockman provided specific

directions to Tamine (previously Don Jones) regarding the day-to-day management of the

properties, including approval of tenants and fishing rights; 163 (3) Brockman approved

the use of funds from Regency Management to transfer to Mountain Queen and Henke

Holdings for property acquisitions; 164 (4) Brockman received monthly reports from

Tamine listing all expenses of $2,000 or more, with copies of invoices for Brockman’s

review and approval of payments; 165 (5) Brockman gave direction regarding the

accounting treatment of property expenses for tax purposes; 166 (6) Brockman approved

the selection of Carl Linnecke to serve as president of Mountain Queen and approved

paying $3,000-$5,000 per month for Linnecke to serve as President. 167 Linnecke was not

informed that Brockman was the true owner of Mountain Queen and underlying

properties. Tamine’s explanation to Linnecke was that the properties were owned by a

charitable trust with charitable purposes. 168 In December 2010, $15 million held in Edge

Investments’ Bermuda bank account was transferred to the account held in the name of

Regency Management Ltd. (“Regency Management”). 169 A portion of the $15 million


163
    Gov. Exs. C-57, C-58.
164
    Gov. Exs. C-46, C-47, C-48, C-49.
165
    Gov. Ex. C-56.
166
    Gov. Ex. C-58.
167
    Gov. Ex. C-50.
168
    Id.
169
    Gov. Exs. B-1.30, B-35 and C-46.

                                            38
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was used to acquire property near Basalt, Colorado and for the construction of a fishing

lodge on the property for Brockman’s personal use. 170 Title to the property was held in

the name of Henke Property as part of Brockman’s offshore structure to conceal his

ownership and relationship to the Colorado properties. 171

        From 2014 through 2016, Brockman authorized an additional $7 million from

Cabot Investments to Regency Management to pay for improvements and maintenance

on his fishing lodge and property. On December 1, 2014, September 26, 2015, April 20,

2016, and October 24, 2016, $5 million, $1 million, $500,000, and $500,000,

respectively, was transferred from Cabot Investments to Regency Management. 172 These

transactions were recorded as “Redemption by Addington and Transfer to Regency.” 173

The funds were then periodically transferred from Regency Management to Henke

Property with the description “Funding of Henke to meet costs.” 174 As illustrated below,

Brockman used multiple offshore entities with multiple offshore accounts and a two-step

washing transaction to hide both the source of the funds and his ownership:




170
    Gov. Exs. C-47, C-48, C-49, C-50.
171
    Gov. Ex. C-51. See infra for additional discussion of Brockman’s concealing his purchases and
ownership of Colorado properties.
172
    Gov. Ex. C-7.
173
    Gov. Exs. C-52, C-53, C-54, C-55.
174
    Gov. Exs. C-47, B-35.

                                                  39
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        3.     Brockman’s Jet
        As with his Colorado real estate and luxury yacht, it is reasonable for the IRS and

the Court to believe Brockman is or appears to be planning to place his property beyond

the government’s reach through his use of foreign and multi-layered entities, a nominee,

and convoluted movements of funds from foreign accounts to hide his ownership of a jet.

        In late 2012, Brockman became interested in purchasing a jet. In December 2012,

Brockman created an offshore structure with multiple U.S. entities to purchase and hold

title to the aircraft. To accomplish this, Brockman formed a Delaware LLC named

Hardwicke Properties LLC (“Hardwicke”). 175 Tamine formed the foreign trust,

Framfield Charitable Trust, which held a foreign corporation, Framfield Assets Ltd.

(“Framfield Assets”) and opened a bank account at Mirabaud & Cie in Geneva,

Switzerland in the name of Framfield Assets. 176 Tamine served as a nominee trustee and

corporate director of these Framfield entities. 177 As part of the scheme, Brockman also

formed the Delaware corporation Red Plains Air Charter Inc. (“Red Plains”) to hold

ownership of Hardwicke, the entity that ultimately held title to the jet. 178 Brockman’s

ownership structure is illustrated as follows:




175
    Gov. Exs. A-11, A-62.
176
    Id.
177
    Id.
178
    Id.

                                             40
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          In particular, Brockman wanted his jet to be owned by a separate foreign entity,

Framfield Assets, “so that the tax returns for Red Plains never shows Spanish Steps

Holdings Ltd. and the AEBCT as the ultimate beneficial owner.” 179 Brockman, who was

keenly aware the IRS may audit him, used this foreign ownership structure to keep his

entities (e.g., Cascade) from being exposed to the government. 180 Cascade holds Edge

Investments, the entity used to fund Brockman’s Colorado property purchases through

Regency Management.

          To further obscure his ownership, Brockman also used convoluted money

transfers through several washing transactions involving Spanish Steps Holdings Ltd. to

hide his ownership of his jet. On December 27, 2012, Brockman authorized $15 million

to be transferred from the AEBCT held in the bank account of Spanish Steps Holding



179
      Gov. Ex. A-62 at ET_0001932966.
180
      Id. at ET_0001932940-31.

                                               41
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Ltd. to the account held in the name of Framfield Assets. 181 Brockman then approved the

initial $12.5 million funding amount for Red Plains at Amegy Bank.

   DATE                FROM                        TO                PAYMENT OUT PAYMENT IN   INTERNAL        BANK                                   REASON



 12/27/2012 Framfield Assets Ltd        Red Plains Air Charter Inc     $12,500,000.00                                   Transfer of funds to Red Plains Air Charter Inc
 12/27/2012 Spanish Steps Holdings Ltd Framfield Assets Ltd                                   $15,000,000.00 Mirabaud   Transfer of funds to purchase aircraft through Red Plains Air Charter


             Tamine described the washing transaction to Brockman: “[the funds will transfer

from [Spanish Steps Holdings Ltd.] account at Mirabaud to Framfield Assets Ltd. Then

from Framfield Assets to Red Plains. This will remove us one further level from

connecting [Spanish Steps Holdings Ltd.] and Red Plains.” 182 Brockman’s movement of

the $12.5 million is illustrated as follows: 183

                                                        $15 million


                                                                            “Framfield Assets Ltd.”
       “Spanish Steps Holdings”                                              Mirabaud Swiss bank                          Red Plains Air Charter
      Mirabaud Swiss bank account                                                  account                                   Amegy account


                                                                                                        $12.5 million


       D.          Brockman’s directive to Tamine to reorganize and replace the trusts and
                   companies comprising the offshore structure highlights his control and
                   efforts to keep his offshore structure hidden from IRS
             Brockman directed Tamine to simplify and reorganize the offshore structure. The

purported trustees, trust protectors, and managers of those trusts and companies were

neither involved nor consulted regarding the change in structure and replacements. For

example, Brockman instructed Tamine to “reduce the number of entities-or at least focus

181
    Gov. Ex. A-9.
182
    Gov. Ex. A-62 at ET_0001932966.
183
    See Gov. Ex. A-9.

                                                                                    42
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on getting rid of inactive entities” in the “Strategic Long-Term” section of Tamine’s to-

do list, dated April 26, 2009. 184 Brockman refers to this reorganization as a “clean up” of

the structure. 185

        Tamine noted that re-incorporating Cabot Investments under Nevis law was part

of a larger restructuring. Tamine stated that “The way in which we have restructured –

particularly for Edge and Cabot as Nevis entities – means that we can make changes

without all the disclosures that would have been necessary previously.” 186

        Tamine suggested moving the Cabot group of entities to the AEBCT structure or

one of the trusts formed in the name of Brockman’s mother, Pearl Brockman: “The Edge

and Cabot group assets are then rolled into either the AEBCT, the AEBGCT or one of

your mother’s trusts. This can all be done offshore and would not be reportable. I

recommend the AEBCT. We have accounts at Bermuda Commercial Bank where these

transfers would hardly raise interest.” 187 Brockman disagreed with this proposed

reorganization -- he wanted to keep the entities separate from the AEBCT structure

because of potential IRS scrutiny: “These other two structures need to be kept way in the

background with separate charitable trusts, trust protectors, and underlying

companies.” 188

        Brockman described the proposed reorganization of the Cabot Investments’




184
    Gov. Ex. C-60 at ET_0000036312.
185
    Gov. Ex. C-62.
186
    Gov. Ex. C-12 in particular ¶ 4.
187
    Gov. Ex. C-62.
188
    Id.

                                             43
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structure to Tamine by email dated July 28, 2010. 189 The reorganization involved

consolidating the Brockman-controlled entities (Addington Trading LLC, Choice

Holdings LLC, and Barrier Holdings LLC) with Addington Trading holding all shares in

Cabot Investments and the “new charitable trust” holding the shares of Addington

Trading to replace the Massengill Trusts. The proposed reorganization was also

included in the to-do list dated December 17, 2011, under the section “Entity

Structure.” 190 Brockman instructed Tamine to “focus on the Cabot structure clean up for

now” by email dated July 29, 2010.191

        Tamine again emailed Brockman on December 2, 2012 to discuss the proposed

reorganization of the Cabot ownership structure. 192 Tamine suggested creating a

charitable purpose trust and transferring the common shares of Cabot from the Louise

Massengill Family Trust to the newly created purpose trusts. 193 Brockman replied by

email on December 9, 2012, that he approved of this plan. 194 Tamine emailed Brockman

on March 6, 2013, confirming that he moved the ownership of the common shares (non-

investment shares) in Cabot to new charitable purpose trusts, eliminating the connection

to the Massengill Trusts. 195 Tamine explained that this was done “as part of the clean up

ahead of the many changes brought in by FATCA and other increased KYC scrutiny.” 196

189
    Gov. Ex. C-61.
190
    Gov. Ex. C-13 at ET_0000049331.
191
    Gov. Ex. C-61.
192
    Gov. Ex. C-63.
193
    Id.
194
    Id.
195
    Gov. Ex. C-64.
196
    Id. The Foreign Account Tax Compliance Act (FATCA), which was passed in 2010 as part of the
HIRE Act, generally requires that foreign financial Institutions and certain other non-financial foreign
                                                                                                  (continued...)


                                                    44
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         Tamine confirmed that he established the trusts and companies to conceal

Brockman’s relationship to the structure while retaining control over the entities. For

example, Tamine’s 2013 performance self-evaluation, dated March 10, 2014, forwarded

to Brockman for the annual compensation review, explained Tamine’s accomplishments

regarding Brockman’s offshore structures and concealment of Brockman’s connection to

the entities and “covering our tracks.” 197 Brockman also did not want to take a

distribution from or clear out the ABECT Trust because “it draws attention to my

personal returns” from the IRS. 198

    E.        Actions to avoid IRS detection
         Brockman has taken many actions, including using code names, creating false

documents, and destroying documents over the years to avoid detection by the IRS and

other governmental authorities.

         1.      Use of code names
         Brockman assigned code and alias names for himself, his nominees and other

offshore service providers when communicating via encrypted email regarding offshore

activity. Brockman used the email code name “Permit” or “Permit1.” 199 Brockman, an


entities report on the foreign assets held by their U.S. account holders or be subject to withholding on
certain payments. The HIRE Act also contained legislation requiring U.S. persons to report, depending on
the value, their foreign financial accounts, and foreign assets.
https://www.irs.gov/businesses/corporations/foreign-account-tax-compliance-act-fatca Know Your
Customer Rules (“KYC”) that under local laws that require a non-US financial institution to obtain
identity documents from clients, understand the nature of customers’ activities and qualify that the source
of funds is legitimate usually relating to tax reporting and/or anti-money laundering rules. In particular,
KYC rules refer to the documentation required under local law that have been approved by the IRS for
purposes of establishing the identification and tax residence of a non-US person for purposes of the
qualified intermediary program. See Rev. Proc. 2000-12 and Announcement 2000-48.
197
    Gov. Ex. C-65 in particular at ¶¶ 2, 9, 13 and 14.
198
    Gov. Ex. A-60.
199
    Id.; Gov. Ex. A-85 at ET_0000015036 and 15037.

                                                    45
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avid fisherman, assigned fish-related code names to the other individuals: 200

 Name                             Code Name                         Alias
 Robert Brockman                  Permit or Permit 1                John Barnes
 Evatt Tamine                     Redfish                           Michael Gilbert
 Don Jones                        Bonefish or King
 Robert Smith                     Steelhead
 James Gilbert                    Chum and Snapper                  Tina Nash
 Al Deaton                        Tarpon

Brockman also referred to the IRS as “the house.” 201

        2.     Attending an anti-money laundering seminar
        Brockman approved Tamine’s attending an anti-money laundering seminar in

Bermuda (under an assumed identity) to learn bank compliance practices. 202

        3.     Preparing false documents
        Brockman also controlled the various foreign trusts and companies by having

copies of electronic signatures of Tamine and trustees and trust protectors of other trusts

so that Brockman could use their electronic signature to sign documentation relating to

the entities. 203 Tamine at Brockman’s direction provided false documents to a bank to

change Trust protectors of AEBCT. 204

        4.     Destroying records and giving orders for destruction of records
        Brockman routinely backed up files to Micro SD cards and deleted files from his

laptop by running the program “Evidence Eliminator” to wipe his computer hard

drives. 205 He also insisted that Tamine and other individuals use Evidence Eliminator. 206

200
    Gov. Ex. A-85 at ET_0000015036 and 15037..
201
    Gov. Ex. A-85 at ET_0000015156 and Gov. Ex. 34, Tamine testimony at pg. 3-108, lns.17-18.
202
    Gov. Ex. A-85 at MLATSW_002380 - 2381.
203
    Gov. Ex. A-88.
204
    Gov. Ex. 34, Tamine testimony at PM 3-30 ln. 25 to pg. 3-34 ln. 9.
205
    Id.
206
    Id.

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        Brockman also personally physically destroyed records related to his offshore

activity. He discussed that he traveled to the offices of his attorneys in Washington, DC

and personally shredded documents from the firm’s files which were “super sensitive”

including the “various proposed structures” for the “Hot Rod” project as well as “the

organizational chart of the international entities.” 207

        Brockman instructed Tamine to “purge all computer files that are held by Don that

involve offshore entities including hammering disks, shredding CDs, etc.” 208 Tamine

confirmed that he destroyed two external hard drives per Brockman’s direction. 209

                                    LAW AND ARGUMENT

II.     Statutory framework for jeopardy assessments
        Congress created Code Section 6861 210 to allow assessment and collection in cases

where more routine methods may be rendered ineffective or “jeopardized” if collection

efforts are delayed. In those cases, the IRS may immediately determine the amount of

the tax due, serve notice of the jeopardy assessment on the taxpayer, demand payment,

and levy upon the taxpayer’s property. 211 Under 26 U.S.C. § 7429, taxpayers may seek

very limited judicial review of these actions on an expedited basis. The decision of a

district court is not subject to review. 212



207
    Gov. Ex. D-27.
208
    Gov. Ex. A-88 in particular MLATSW_000851.
209
    Id.
210
    The jeopardy assessment of Brockman’s income tax liability was made under 26 U.S.C. § 6861.
Section 6861 authorizes making a jeopardy assessment for income taxes and other taxes for which a
notice of deficiency must be issued under Section 6212 and which may be contested in Tax Court under
Section 6213. “Section” references are to Title 26 of the United States Code (the Internal Revenue Code).
211
    See Nolan v. United States, 539 F. Supp. 788, 789 (D. Ariz. 1982).
212
    Id. § 7429(f).

                                                   47
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        The scope of the determination under Section 7429 is summary and limited to two

questions: (1) whether the jeopardy or termination action is reasonable under the

circumstances, and (2) whether the amount assessed is appropriate. 213 The determination

is not designed to establish the taxpayer’s ultimate liability for the taxes at issue. 214 That

ultimate determination may be accomplished in a later proceeding brought by the

taxpayer in Tax Court, Claims Court, or a United States district court where the taxpayer

may also pursue refund claims for amounts collected under the jeopardy procedures.

        While Section 7429 does not set forth specific guidelines as to what constitutes

“reasonable under the circumstances,” the courts have determined that this term means

“something more than not arbitrary and capricious and something less than supported by

substantial evidence.” 215 In other words, “[t]he standard of reasonableness required to

support a determination under review pursuant to § 7429 is not a rigorous one.” 216 The

burden has been described as similar to probable cause in a criminal case. 217

        The general test used to determine whether making an assessment is reasonable

includes an inquiry into whether (1) the taxpayer is or appears to be planning to quickly

depart from the United States to conceal himself; or (2) the taxpayer is or appears to be

213
    Id. § 7429(b)(3); Central De Gas Chihuahua, S.A v. United States, 790 F. Supp. 1302, 1304 (W.D.
Tex. 1992); Varjabedian v. United States, 339 F. Supp. 2d 140, 144 (D. Mass. 2004); Wellek, 324 F.
Supp. 2d at 911; Magluta v. United States, 952 F. Supp. 798, 801 (S.D. Fla. 1996); Young v. United
States, 671 F. Supp. 1340, 1343 (S.D. Fla. 1987).
214
    See Varjabedian, 339 F. Supp. 2d at 144 (citing Rey Balaguer v. United States, 656 F. Supp. 383, 385
(D. P.R. 1987)).
215
    Central De Gas, 790 F. Supp. at 1304; Felkel v. United States, 570 F. Supp. 833, 838 (D. S.C. 1983);
Loretto v. United States, 440 F. Supp. 1168, 1172 (E.D. Pa. 1977); Garcia v. United States, 714 F. Supp.
1036, 1077 (N.D. Cal. 1989); Harvey, 730 F. Supp. at 1104; DeLauri v. United States, 492 F. Supp. 442,
445 (W.D. Tex. 1980).
216
    Serpa v. United States, 1981 WL 1759, at *2 (D. Neb. Mar. 12, 1981).
217
    Nolan, 539 F. Supp. at 790; United States v. Doyle, 482 F. Supp. 1227, 1229 (E.D. Wis. 1980).

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designing to place his property beyond the reach of the government either by removing it

from the United States or by concealing it, or by transferring it to other persons, or by

dissipating it; or (3) the taxpayer's financial solvency appears to be imperiled. 218 If any

one of these three conditions is found to exist, making a jeopardy assessment is

reasonable. 219

        Of necessity, Section 7429 does not call for a full evidentiary hearing.220 The

court’s review is not to be treated as a trial on the ultimate merits of the tax liabilities.

Rather, the court conducts a summary proceeding where both parties present the

information on which they rely in support of their respective positions.

        The burden of proving that making a jeopardy assessment was reasonable is upon

the United States. 221 But given (i) the time constraints involved in a hearing to review the

assessments, and (ii) the fact that the proceeding is intended to be summary in nature with

the United States merely required to establish reasonableness of the assessment, the proof

the government can use to satisfy its burden need not be in a form that satisfies the

requirements of the Federal Rules of Evidence. 222

        The evidence which is admissible and on which the court can rely includes




218
    Treas. Reg. § 301.6861-1; Treas. Reg. § 1.6851-1(a)(1). See Central De Gas, 790 F. Supp. at 1305;
Varjabedian, 339 F. Supp. 2d at 155, Wellek, 324 F. Supp. 2d at 912; Cantillo v. Coleman, 559 F. Supp.
205, 206-207 (D. N.J. 1983).
219
    See Wellek, 324 F. Supp. 2d at 912; Nolan, 539 F. Supp. at 790, (citing S. Rep. No. 94-938, p. 365 n. 6,
reprinted at 1976 U.S. Code Cong. & Ad. News at 3795).
220
    Hecht v. United States, 609 F. Supp. 264, 266 (S.D.N.Y. 1985).
221
    26 U.S.C. § 7429(g)(l).
222
    Miller, 615 F. Supp. at 786; Harvey, 730 F. Supp. at 1104; Marranca v. United States, 587 F. Supp.
663, 668 (M.D. Pa. 1984).

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evidence that would not be admissible in a civil or criminal trial. 223 Such evidence

includes affidavits, 224 even affidavits containing Government agents' conclusions and

opinions, hearsay, 225 information that the revenue agent learned from individuals or IRS

personnel or confidential sources, 226 documents submitted as exhibits, 227 and, of course,

testimony. 228 In short, courts “must consider any information that has a bearing” on the

two issues the court must address. 229 Because the judicial review the jeopardy

determination is de novo rather than deferring to the discretion of the agency

determination, the courts may also consider facts and information gathered after the IRS

made its determination and assessment. 230

        It is also not essential that each specific item of information on which the

jeopardy assessment is based be accurate for the jeopardy determination to be reasonable

under Section 7429. 231 The United States need only show that Brockman’s actions

appear to jeopardize collection, not that he will do so. 232 Appearances are what count:

223
    See Harvey, 730 F. Supp. at 1104; Billig v. United States, 1981 WL 1898, at *3, 49 A.F.T.R.2d (P.–H.)
82–479, 82–480, 81–2 U.S.T.C. (CCH) para. 9792 at 88,635 (N.D.Ga.1981).
224
    McAvoy v. IRS, 475 F. Supp. 297, 299 (W.D.Mich.1979); Bremson v. United States, 459 F. Supp. 121,
122 & n. 2, 123, 125 & n. 11, 127 & n. 15, (W.D.Mo.1978); Loretto, 440 F. Supp. at 1171 & n. 4.
225
    Bremson, 459 F. Supp. at 127, 128.
226
    Bean v. United States, 618 F. Supp. 652, 656–657 (N.D.Ga.1985).
227
    Loretto, 440 F. Supp. at 1171.
228
    Welch v. United States, 575 F. Supp. 464, 466 (S.D.Miss.1983); Bremson, 459 F. Supp. at 122 n. 3.
229
    Bremson, 459 F. Supp. at 125; see also McAvoy, 475 F. Supp. at 298; Loretto, 440 F. Supp. at 1173.
230
    Wellek, 324 F. Supp. 2d at 911; Camp v. Commissioner, 635 F. Supp. 585, 587 (E.D. La. 1986);
Nolan, 539 F. Supp. at 790; Central De Gas, 790 F. Supp. at 1304; Loretto, 440 F. Supp. at 1173.
231
    Serpa, 1981 WL 1759, at *2 (“[I]t is not essential that every fact upon which the determination is
based be proven accurate in a subsequent judicial proceeding in order for that determination to be
reasonable under § 7429 . . . The standard is one of reasonableness, not one of substantial evidence.”).
232
    Golden West Holdings Trust v. United States, 2009 WL 1457107, *4 (D. Ariz. May 21, 2009); Wellek,
324 F. Supp. 2d. at 911; Golden ADA, Inc. v. United States, 934 F. Supp. 341, 345 (N.D. Cal. 1996)
(“Whether Golden ADA in fact intended to liquidate its assets and place them beyond the reach of the
IRS thereby avoiding payment of its taxes is irrelevant. It is the appearance of such things that is relevant
                                                                                                   (continued...)


                                                     50
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“In order to establish that the making of a jeopardy assessment is reasonable under the

circumstances, the Service ‘need only establish that the taxpayer’s circumstances appear

to be jeopardizing collection of a tax—not whether they definitely do so.’” 233

        In determining whether any of these the “circumstances” is present, there are

many factors that courts may consider including whether: (1) the taxpayer is involved in

illegal activity, 234 (2) the taxpayer travels abroad frequently, (3) the taxpayer is leaving or

may be expected to leave the country, (4) the taxpayer has recently conveyed real estate,

(5) or discussed such conveyance, (6) the taxpayer controls bank accounts containing

liquid funds, (7) the taxpayer has not supplied public agencies with appropriate forms or

documents when requested to do so, (8) the taxpayer controls numerous business entities,

(9) the taxpayer attempts to make sizable bank account withdrawals at the time of the

assessment, (10) the taxpayer maintains foreign bank accounts, (11) the taxpayer takes

large amounts of money offshore, and (12) the taxpayer has many business entities which

can be used to hide his assets. 235

        The “appearances” in this action establishing that the jeopardy assessments were



and controlling.”); Cantillo, 559 F. Supp. at 207; Revis v. United States, 558 F. Supp. 1071, 1078 (D. R.I.
1983).
233
    Miller, 615 F. Supp. at 786 (emphasis in original) (quoting Cantillo, 559 F. Supp. at 207). See also,
Treas. Reg. § 301.6861-1; Treas. Reg. § 1.6851-1(a)(1); Bean v. United States, 618 F. Supp. 652, 658
(N.D. Ga. 1985) (“Whether Bean in fact intended to depart the country, liquidate his assets and thereby
avoid payment of his taxes is irrelevant”).
234
    Magluta, 952 F. Supp. at 801-802.
235
    Bean v. United States, 618 F. Supp. 652, 658 (N.D. Ga. 1985) (citations omitted).
There are a host of other reasons that have helped courts find that jeopardy assessments were appropriate.
See Wellek, 324 F. Supp. 2d at 912; Mesher v. United States, 736 F. Supp. 233, 235-36 (D. Or. 1990)
(listing six factors courts will consider). See Arnold v. United States, 1998 U.S. Dis. Lexis 22310 *23-24,
83 A.F.T.R.2d (RIA) 3018 (taxpayers holding of residence and other assets in nominee corporations
supported jeopardy assessments).

                                                    51
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reasonable are abundant. After a 30 year history of hiding assets and income from the

United States in his offshore structures, Brockman’s more recent activities appear to be a

continuation of his past in a way that appears to further jeopardize collection of his taxes.

For example, within six months of his October 1, 2020, indictment, Brockman and his

wife (i) sold two Houston properties, (ii) gifted another Houston property to their

daughter-in-law, (iii) listed his Houston residence for sale, (iv) sold his interest in the jet,

(v) closed several of his U.S. bank accounts, (vi) transferred control of his offshore

empire to another tax haven locale (Cayman Islands), (vii) created two new offshore

trusts with foreign accounts and transferred funds from the U.S. to them and (viii) used

multiple foreign corporations, foreign trusts, foreign accounts, nominees, and other

business entities. Furthermore, sometime in 2020, Brockman dissipated or transferred to

unknown accounts some $3,634,317 from his U.S. based financial accounts. In short,

many of the above-described factors support the jeopardy assessment.

III.     The evidence establishes that jeopardy appears to exist, and the jeopardy
         assessment is reasonable
   A.       Brockman was designing to place his property beyond the IRS’s reach
         In deciding whether a taxpayer is or appears to be designing quickly to place his

property beyond the reach of the government, the question is whether the United States

reasonably believes collection of the taxes is in jeopardy if it must delay assessment and

collection pending pre-assessment and pre-collection administrative and judicial review.

In making this determination, courts have held that the United States need not show




                                               52
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immediate dissipation or removal of assets. 236 Rather, the test is whether the collection

of taxes would be ineffective or jeopardized if collection efforts are delayed during the

standard administrative preassessment and pre-collection review process. 237 The

question is whether the taxpayer appears to be manipulating his property in such a

manner as to place them beyond the reach of the government. 238 Here, the IRS acted

reasonably in believing that Brockman appeared to be designing to place his assets

beyond the reach of the government because of the transfer and impending/recent sales of

millions of dollars in real estate and Brockman’s decades-long and extensive efforts to

hide his true ownership of assets held offshore in convoluted structures in multiple

foreign jurisdictions. In short, the evidence establishes that jeopardy exists.

      B.      The Brockmans are currently selling and gifting their Texas real estate,
              including entering into transactions shortly after Brockman’s indictment,
              in an attempt to place the assets beyond IRS reach
           It is reasonable for the IRS and the Court to believe that it appears Brockman is

planning to place his property beyond the government’s reach. Since his indictment,

Brockman, through his wife, is actively transferring, gifting, and attempting to sell his

U.S. based real estate.

           As noted above, Brockman engaged in a decades-long scheme of hiding and

disguising his true ownership of his assets to evade detection and collection by IRS.

Additionally, Brockman’s domestic assets that were not hidden using nominees and


236
    Harvey, 730 F. Supp. at 1107.
237
    Id. (citation omitted); see Revis, 558 F. Supp. at 1078 (noting “speed . . . a relative concept”; collecting
cases of taxpayer actions spanning years).
238
    See Revis, 558 F. Supp. at 1078.


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layered entities, are currently being transferred, gifted, and put up for sale to avoid

collection efforts.

         Shortly after Brockman’s indictment, he disposed of, and is actively trying to

dispose of, property with a value in excess of $24.49 million. While this is a small

fraction of Brockman’s total taxes owed, it represents property holdings in his or his

wife’s name. The timeline of this disposal is summarized:

      • 10/1/2020 Brockman indicted on federal tax evasion, wire fraud, money
        laundering, evidence tampering and destruction of evidence, and failure to file
        FBARs. The amount Brockman owes is over $1.4 billion.
      • 10/26/2020 Brockman lists 1731 Sunset Blvd, Houston TX 77005 (the “Sunset
        Property”), for sale, and it is sold on May 12, 2021 for $1.375 million.239
      • 11/12/2020 3702 Inwood Drive, Houston TX 77019 (the “Inwood Property”),
        valued at $3.7 million, gifted to daughter-in-law Elizabeth Bellows Brockman on
        November 12, 2020. 240
      • 12/11/2020 335 West Friar Tuck Lane, Houston TX 77024 (“335 West Friar
        Tuck”), sold for $4,100,000 million. 241
      • 5/17/2021 333 West Friar Tuck Lane, Houston TX 77024 (“333 West Friar
        Tuck”), principal residence of the Brockmans listed for sale for $15.35 million. 242
A cursory examination of these transactions reveals Brockman’s machinations in

attempting to place property beyond the reach of the IRS.

239
    Gov. Exs. 17 and 18. The property had originally been listed for sale on October 26, 2020. As with the
Brockman’s personal residence, this property was originally acquired as community property in 2011 but
on October 17, 2019, the Brockmans recorded a partition agreement followed by a deed on the same date
with Brockman conveying his 50% separate interest in the property to Mrs. Brockman to hold as her
100% sole and separate property. Gov. Exs. 16 and 17.
240
    Gov. Exs. 20 and 21 Gift Deed… Mrs. Brockman originally acquired the property as her sole and
separate property by deed recorded on January 21, 2020 and she gifted the property to her daughter-in-
law, Elizabeth Bellows Brockman, on November 12, 2020. Gov. Exs. 19 and 21.
241
     Gov. Exs. 12 and 13. The property was sold with Mrs. Brockman acting on Brockman’s behalf as
power of attorney. Gov. Ex. 12 and Gov. Ex. A-95.
242
    Gov. Ex. 12 and Gov. Ex. A-95. Although originally acquired by Brockman and his wife as
community property in 1997, they shortly thereafter on December 30, 1997, recorded a partition
agreement followed by a deed on February 17, 1998, with Brockman conveying his 50% separate share to
Mrs. Brockman to hold title as her 100% sole and separate property. Gov. Ex. 9.

                                                   54
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        For example, in May 2011, the Brockmans acquired the Sunset Property, a four-

story townhouse located in Houston. 243 For eight years, the Brockmans held this property

as community property. In September 2018, the Bermuda police executed a search

warrant on Tamine’s home and storage facilities in Bermuda. 244 As noted above, Tamine

was Brockman’s employee, agent, and nominee.

        After the search warrant, on October 17, 2019, Brockman partitioned the Sunset

Property into separate property between himself and his wife. On the same day,

Brockman transferred his 50% (separate) interest in the Sunset Property to his wife. On

October 1, 2020, Brockman was indicted. On October 26, 2020, merely three weeks after

Brockman’s indictment, Brockman listed the Sunset Property for sale. It was sold in May

2021, for $1.375 million.

        Similarly, in March 2005, the Brockmans acquired 335 West Friar Tuck. For

fifteen years, the Brockmans held the property as community property. Yet, two months

after his indictment, Brockman, through his wife, sold the property on December 11,

2020, for $4.1 million.

        The Brockmans acquired their principal residence, 333 West Friar Tuck, years

ago. For twenty-four years, they maintained the 333 West Friar Tuck property as their

principal residence. Seven months after his indictment, 333 Friar Tuck was listed for sale

for $15.35 million.



243
   Gov. Ex. 14.
244
   See Gov. Ex. 25 (Constable Rock’s Statement describing September 5, 2018, search of Tamine’s home
in Bermuda).

                                                55
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          On January 21, 2020, Mrs. Brockman acquired the Inwood Property. She acquired

this property as her separate property, though she earns no separate income apart from

community income from Brockman. On November 12, 2020, a little more than a month

after Brockman’s indictment, Mrs. Brockman gifted the Inwood Property worth

$3,567,218 to her daughter-in-law, Elizabeth Bellows Brockman, as her sole and separate

property. 245 Brockman’s actions show that he is attempting to insulate this property not

only from the IRS’s reach (due to his substantial tax liabilities), but he is also trying to

shield the Inwood Property from being associated with his son, who was involved in

Brockman’s businesses.

          Brockman’s post-indictment transfers are conducted by his wife (Dorothy

Brockman) through a statutory durable power of attorney. 246 Shortly after Brockman

became aware of his pending indictment, in July 2020, he signed the power of attorney.

It was recorded in the public record on December 14, 2020. Immediately after

Brockman’s indictment, Dorothy Brockman began selling and transferring their property

using the power of attorney.

          The timing of the power of attorney, its subsequent recording, and its use evidence

further maneuverings by the Brockmans to hide Brockman’s involvement and dissipate

his assets. Brockman has a history of using nominees to acquire, sell, and manage his

assets and companies. Based upon Brockman’s actions, his repeated pattern of hiding

assets by disguising their true ownership through nominees and multi-layered foreign


245
      Elizabeth Bellows Brockman is Brockman’s daughter-in-law (the wife of Brockman’s only son).
246
      Gov. Exs. 2 (Jeopardy Report), A-95 (statutory power of attorney).

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entities, it is reasonable for the IRS and the Court to believe that the collection of taxes

will be rendered ineffective and jeopardized.

        Brockman’s defense of these property transfers reveals that his attempts to keep

his assets from the IRS started as far back as the 1990s. Brockman asserts the Court

cannot rely on several of these property transfers because the properties were owned

solely by Dorothy Brockman and she files separate tax returns.

        Tellingly, Brockman claims that his 1992-1995 tax years were examined by the

IRS. Starting with their 1996 tax year, the Brockmans began filing separate tax returns.

On December 31, 1997, Brockman partitioned the 333 West Friar Tuck property into

50% separate property ownership between he and his wife. Brockman then on February

17, 1998 transferred his 50% separate property interest to his wife. Before these transfers

took place, the IRS could have reached Brockman’s interest in these properties. After

these transfers, the IRS will have to assert and prevail on additional administrative

actions such as the use of alter ego, nominee, or transferee liens and levies, or the

government will need to seek judicial determinations using similar or other causes of

action. As the Fifth Circuit noted, “[t]hese issues are fact-intensive and involve

imprecise legal rules.” 247 However, in deciding whether to sustain the jeopardy

assessment against Brockman, the Court does not need to adjudicate whether Mrs.


247
   “While related, the concepts of nominee, transferee, and alter ego are independent bases for attaching
the property of titled to a third party in satisfaction of a delinquent taxpayer's liability. A nominee theory
involves the determination of the true beneficial ownership of property. An alter ego theory focuses more
on those facts associated with a ‘piercing the corporate veil’ analysis. In contrast, a fraudulent transferee
theory requires (1) an intent to defraud the Internal Revenue Service as a creditor or (2) a transfer without
consideration which rendered the taxpayer insolvent. These issues are fact-intensive and involve
imprecise legal rules.” Oxford Cap. Corp. v. United States, 211 F.3d 280, 284 (5th Cir. 2000).

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Brockman owned all the above properties separately or whether such properties were

beyond the reach of the United States under any legal theory of recovery. Rather, the test

is whether it is reasonable to believe that collection against the Brockman-related

properties is in jeopardy due to Brockman’s actions in selling or gifting them to third

parties. 248

        Likewise, under Section 6851(a)(1) jeopardy can exist when a taxpayer’s actions

“prejudice or . . . render wholly or partially ineffectual proceedings to collect the income

tax….” Thus, Brockman incorrectly asserts there is no jeopardy because (i) the property

transfers/sales are public and were to third parties, and (ii) Mrs. Brockman purchased

substitute properties and the IRS could therefore trace the sales proceeds. More

importantly, Brockman, his wife, or his daughter-in-law could easily place any proceeds

from these sales or the gifted properties into Brockman’s offshore Trust making it more

difficult for the IRS to reach them for collection purposes, but Brockman would still

control and enjoy those assets in the same way he has controlled and enjoyed the Trust’s

assets for decades.

        Brockman’s actions are either making it harder to collect from these properties or

are entirely removing the properties from the collection process. Thus, it reasonably

appears that jeopardy exists, because Brockman’s actions are taken to delay or frustrate,

prejudice, or render IRS collection ineffective.




248
   See, e.g., Amyx v. United States, 529 F. Supp. 98, 99–100 (D. Ohio, 1981) (determination of who
actually owned certain cash was not the issue).

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      C.         Brockman’s past and current use of foreign entities, domestic entities, and
                 funds from foreign accounts to hide his assets during the years at issue
                 warrants the jeopardy assessments
           The jeopardy assessment is reasonable and proper based on Brockman’s past and

current actions to hide his assets during the years at issue. As part of the IRS’s

investigation, it learned of Brockman’s extensive (and unprecedented) offshore scheme

using multiple foreign entities, domestic entities, and foreign accounts to hide his assets.

Jeopardy exists based on Brockman’s past, and continuing, use of nominee or shell

companies to hide Brockman’s assets and conceal his true ownership. 249 Based on its

investigation, the IRS learned that Brockman has:

           (1)      extensive involvement with setting up his business activities and
                    transactions in the names of other entities and in an obfuscating way;
           (2)      significant involvement in foreign trusts and foreign businesses;
           (3)      access to and use of multiple foreign bank accounts; and
           (4)      numerous connections to, as well as having assets located in, well-known
                    tax haven jurisdictions. These locations make the collection of assets by
                    creditors difficult, if not impossible.
           The IRS conducted a thorough investigation that exposed Brockman’s complex

offshore empire used to hide his assets from the IRS. Brockman had entities located in

at least five different known tax havens: Switzerland, Bermuda, British Virgin Islands,

Nevis, and the Cayman Islands. This offshore scheme consisted of at least eight different

foreign trusts in Bermuda, fourteen foreign corporations in Nevis, and entities in the

Cayman Islands, BVI, and Bermuda. Additionally, Brockman used nine U.S.



249
  Haskin v. United States, 444 F. Supp. 299, 302 (C.D. Cal. 1977); Central De Gas, 790 F. Supp. at
1302; Zion Coptic Church. Inc. v. United States, 1979 WL 1333, *1 (S.D. Fla. Mar. 19, 1979); Felkel,
570 F. Supp. at 835, 838-39; Harvey, 730 F. Supp. at 1101, 1107 (S.D.Fla.,1990).

                                                  59
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corporations and twelve different foreign bank accounts located in Bermuda and

Switzerland. 250 These facts are more than is needed to meet the non-rigorous, probable

cause standard necessary to show that the jeopardy assessment is reasonable.

        The jeopardy assessment against Brockman is also reasonable under the

circumstances, because of his use of numerous foreign accounts, foreign trusts, and

foreign and domestic corporations to acquire and hold personal assets (Colorado real

estate, a luxury yacht, and an airplane). Brockman seeks to ignore his history of hiding

assets and refuses to address it by claiming it is irrelevant to the jeopardy assessment

determination. But consideration of Brockman’s history of using and continuing use of

nominee or shell corporations to hold his personal assets is reasonable and “warrants the

making of jeopardy assessments against the plaintiff.” 251

        In Harvey, the IRS made jeopardy assessments in 1987 for the tax years 1978-

1983. The court considered Harvey’s purchase of real estate in the name of a corporation

in 1978, use of foreign accounts from 1979 to 1983 and holding other assets in the name

of corporations during the years at issue as relevant facts to consider in determining

whether the IRS jeopardy assessment was reasonable. 252

        In this case, the IRS, on September 7, 2021, made jeopardy assessments for the

2004-2018 years in an aggregate amount exceeding $1.4 billion against Brockman.

During these years, Brockman used ten entities, consisting of two foreign trusts, three

250
    See Gov. Ex. 3, diagram of offshore empire.
251
    Harvey, F. Supp. at 1107.
252
    Id. at 1106-1107.



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foreign corporations and five U.S. corporations to hold tens of millions of dollars in

assets: Brockman’s Colorado real estate ($36 million), luxury yacht ($32.8 million) and

airplane ($12.5 million). To fund the acquisitions, maintenance, and operations of these

assets, Brockman used offshore funds, running the funds through foreign corporations

and different foreign bank accounts in Switzerland and Bermuda.

       As another example, Brockman used an offshore foreign charitable trust in

Bermuda (Heraclides Charitable Trust) to hold a Bermuda foreign corporation (Regency

Management). Regency Management owned three separate U.S. corporations (Henke

Holdings LLC, Henke Property LLC, and Mountain Queen), which held his ownership of

at least six Colorado properties worth about $36 million. During the 2010 – 2016 years,

Brockman funded the acquisition, maintenance, and repairs of his Colorado real estate

through at least three offshore foreign bank accounts in Bermuda in the names of

Regency Management, Cabot Investments, and Edge Investments.

       Brockman’s yacht ownership was also held in the name of a foreign company,

Research Fisheries Foundation located in Bermuda. In 2016-2018, Brockman funded the

yacht’s acquisition and operations in the amount of $43.8 million through an offshore

Swiss bank account held in the name Cabot Investments and through another foreign

entity domiciled in Nevis. Brockman appears to assert that he was not trying to hide his

interest in the yacht because he reported it on Forms 8938 filed with the IRS. However,

what Brockman fails to disclose is that he failed to file the Form 8938 for 2016 and the

Forms 8938 he filed were inaccurate by under reporting the value of the assets by some



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$29,345,705. 253 Brockman failed to file the Form 8938 for 2016, the year the yacht was

purchased. 254 Brockman’s Forms 8938 for 2017 and 2018 states that the total asset value

of Fisheries Research Foundation was $3,500,000. 255 Fisheries Research Foundation

held the luxury yacht Albula that was purchased in 2016, for $32,845,705. 256

        Furthermore, it was recently disclosed that sometime in 2020 Brockman sold his

interest in Fisheries Research Foundation and the yacht Albula. On November 17, 2021,

Brockman’s nominee Tamine testified that Brockman no longer had an interest in the

yacht. 257 The yacht Albula was held by the entity Fisheries Research

Foundation. Brockman’s Form 8938 filed with his 2020 return on October 15, 2021,

stated “yes” to whether a foreign asset was acquired or sold during the 2020 year. 258

Brockman’s Form 8938 for 2020 did not list his ownership in Fisheries Research

Foundation indicating that his interest in entity or asset held in this entity was sold in

2020. 259 Again, when Brockman knew he faced criminal indictment by the U.S., he

transferred a known asset out of reach of the IRS.

        Even assuming a justifiable explanation exists for hiding one’s assets using a

complex ownership scheme involving several tax havens, purity of motive alone is not

dispositive, nor would it undermine the reasonableness of the jeopardy assessment. The

key consideration must be whether Brockman appeared to be manipulating and moving


253
    Gov. Ex. 1 at ¶¶ 41, 42 and 43.
254
    Id.
255
    Id. and Gov. Ex. 6.
256
    See Gov. Ex 1 at ¶ 39 and Gov. C-7 and C-45.
257
    Gov. Ex. 34 Tamine Test. pg. pm 3-6 lns. 2- 8.
258
    Gov. Ex. 1 at ¶¶ 59, 60.
259
    Id.

                                                     62
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his property to place it beyond the government’s reach. 260

      D.        Subsequent evidence further proves the IRS’s concerns
           1.      Brockman’s post indictment sale of his interest in Hardwicke
           When determining whether the jeopardy assessment is reasonable, the Court

should review the information available to the IRS at the time of the jeopardy

determination and assessment, as well as any other information that bears on this issue. 261

This can include information that the IRS learned after it made its determination and

made the assessment.

           Unbeknownst to the IRS at the time of the jeopardy assessment, after his

indictment (but before the assessment), Brockman quickly sold his 1% interest in

Hardwicke. This is evidence as to why the jeopardy assessment should be affirmed.

           Apart from his nominee ownership, Brockman owned 1% of Hardwicke which

holds title to the jet that was purchased through funding from an offshore entity, Spanish

Steps Holdings’ Swiss bank account. Brockman’s 1% ownership of Hardwicke was

known and disclosed to the IRS. On March 24, 2021, within six months after his

indictment, Brockman sold his 1% interest to R & R for $288,858 in cash. 262

Brockman’s subsequent sale of his 1% in Hardwick was not disclosed to or known by

IRS at the time of the jeopardy assessment.

           On September 9, 2021, the IRS filed a Notice of Federal Tax Lien (“NFTL”) for



260
    See Revis, 558 F. Supp. at 1077. See also, Treas. Reg. § 301.6861-1; Treas. Reg. § 1.6851-1(a)(1).
261
    Haskin, 444 F. Supp. at 304 (citing S. Rep. No. 94-938 at 365); see also Wellek, 324 F Supp. 2d at
911; Harvey, 730 F. Supp. at 1104; Loretto, 440 F. Supp. at 1173.
262
    Gov. Ex. 7 at pgs. 16-20. Dorothy Brockman sold the interest on behalf of Brockman through her
power of attorney.

                                                   63
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the jeopardy assessments against Hardwicke as an alter-ego of Brockman. 263 On October

12, 2021, Hardwicke filed a collection appeal, separate from the jeopardy appeal, with

the IRS. 264 Hardwicke asserts that the NFTL filed against it was improper because

Hardwicke cannot be an alter ego of Brockman as he is no longer a shareholder in, or

owns 1% of, Hardwicke. 265 Hardwicke’s argument is that the IRS cannot collect

Brockman’s tax liabilities from Hardwicke because Brockman sold his interest before the

IRS made a jeopardy assessment and filed a lien. Hardwicke argues that, in essence, the

IRS collection efforts have been recently defeated or delayed by Brockman quickly

disposing of his interest in Hardwick after he was indicted. It is for this very reason that

the jeopardy assessment and levy procedures exist.

        Brockman’s assertion that he is just disposing of property in the normal course of

business is not the issue. The issue is whether it appears, and therefore is reasonable for

the Court to believe Brockman is quickly selling his assets to jeopardize collection. 266

        Brockman owned his 1% interest in Hardwicke since 2012. Brockman was

indicted in October 2020. Then, after holding his interest for eight years, in March 2021,

Brockman (during the pendency of his criminal case) sells his 1% in Hardwicke for

$288,588 cash. It is unknown where Brockman has transferred this cash or if he



263
    Gov. Ex. 24 at ¶ 32.
264
    Gov. Ex. 7.
265
    Gov. Ex. 7 at pgs. 11-12 of 23.
266
    Olbres v. I.R.S., 837 F. Supp. 20, 22 (D.N.H. 1993) (taxpayer’s assertion that they were liquidating
property to pay taxes not to place the property beyond government’s reach not dispositive as it was
reasonable for IRS to view the sales as jeopardy).



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dissipated the funds. It is reasonable to view Brockman’s quick disposal of a known

asset after his indictment which reduced this 1% ownership interest to cash as an action

designed to place his property beyond the reach of the government. Because of

Brockman’s actions on this sale, the belief that collection of the taxes appears to be in

jeopardy is reasonable.

        Likewise, Brockman purchased the yacht Albula in 2016. Then sometime in 2020

after learning he was under criminal investigation Brockman transferred or sold his

interest in the yacht Albula. Brockman’s disposal of his assets, namely the jet and yacht

support a reasonable belief that that Brockman’s actions are designed to place his

property beyond the reach of the IRS which puts collection in jeopardy.

        2.      Brockman closing and draining financial accounts creates jeopardy
        It is reasonable for the IRS and the Court to believe that it appears Brockman is

planning to place his property beyond the government’s reach since Brockman is closing

bank accounts, draining funds out of his known financial accounts and either dissipating

or transferring these funds to unknown accounts. Brockman’s withdrawing significant

sums from accounts around the time of the assessment is a factor in favor for jeopardy.267

        On September 9, 2021, the IRS levied on what it believed were all Brockman’s

and his wife’s known U.S. financial accounts. 268 From the financial institutions’

responses to the IRS levies it was discovered that in May of 2021, Brockman closed his

Amegy and Wells Fargo Bank accounts. 269


267
    Bean, 618 F. Supp. at 658.
268
    Gov, Ex, 24 Sandles’ declaration at ¶ ¶ 33, 34, 35 and 36.
269
    Id. at ¶ ¶ 35, 36, 57 and 58.

                                                     65
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        As of September 9, 2021, the IRS also discovered that Brockman’s National

Financial Services account had no balance. Sometime in 2020, National Financial

Services made a distribution of $1,301,319 to Brockman from his account. 270 In June of

2020, within a few months of Brockman’s attorneys contacting the United States

regarding Brockman’s potential indictment in April of 2020, Brockman sold stock from

his National Financial Services account of $663,655.271 Also, sometime in 2020 Great-

West Trust Company made a net distribution of $1,217,056 to Brockman. 272 On

September 15, 2020, Brockman sold securities in his John Hancock and Morgan Stanley

accounts totaling $452,287. 273 However, as of September 9, 2021, the combined funds in

the John Hancock and Morgan Stanley accounts totaled a mere $70,963.07. 274 Where did

the remaining $381,323.93 in funds go? In 2020, from the U.S. financial accounts held in

Brockman’s name, Brockman received $3,634,317. 275 However, the September 9, 2021,

IRS levies only secured a total of $163,406.79 held in accounts in Brockman’s name. 276

Thus, Brockman has dissipated or transferred $3,470,910.21 in funds to unknown

accounts or recipients.

        Since his indictment Brockman and/or his wife have transferred and sold property

of $5,763,858.277 Sometime in 2020 and before the IRS levies of September 9, 2021,


270
    Id. at ¶ 59.
271
    Gov. Ex. 24 Sandles’ declaration at ¶ 59.
272
    Id. at ¶ 62.
273
    Id. at ¶ ¶ 60 and 61.
274
    Gov. Ex. 24 at ¶ 35.
275
    $1,301, 319 (National Finance) + $1,217,056 (Great -West) + $1,115,942 securities sales =$3,634,317.
276
    Id. at ¶ 35.
277
    Sunset Property of $1.375 million plus 335 West Friar Tuck property of $4,100,000 million plus
Hardwicke at $288,858 = $5,763,858.

                                                  66
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Brockman transferred or withdrew at least $3,634,317 from his financial accounts.

Additionally, in 2020 after Brockman’s indictment, Mrs. Brockman sold securities/stocks

of $9,287,777. 278 Since 2020, it appears that Brockman was taking steps to jeopardize

collection of his tax liabilities by transferring, selling, and dissipating assets out of the

reach of the IRS totaling $18,685,952 as follows. 279

 Amount           Date              Description of Asset or property                     Evidentiary Cite
 $1,375,000       May 2021          1731 Sunset Blvd, Houston TX 77005                   Gov. Exs. 17, 18
 $4,100,000       December          335 West Friar Tuck Lane, Houston TX 77024           Gov. Ex. 32
                  2020
 $ 288,858        March 2021        1% interest in Hardwicke (Bombardier jet)            Gov. Ex. 7
 $1,301,319       2020              distribution from National Financial Services        Gov. Ex. 33 at
                                    LLC                                                  pg. 30.
 $1,217,056       2020              distribution Great-West Trust Company                Gov. Ex. 33 at
                                                                                         pg. 30.
 $1,115,942  6/2020                 Sales of securities from Morgan Stanley,             Gov. Ex. 33 at
             through                National Financial Services and John Hancock         pgs. 8-21.
             9/2020                 accounts
 $9,287,777 10/20/2020              Sales of securities by Dorothy Brockman              Gov. Ex. 32
             through
             12/31/2020
 $18,685,952 Total amount

        Yet, all the IRS levies on Brockman and his wife’s known financial accounts only

secured $2,449,695.12. 280 The Brockmans’ actions beg the question where is this other

$16,236,256.88? The IRS does not know what happened to the proceeds from these

property sales, securities sales, and distributions. It appears funds are being dissipated or

transferred to unknown accounts or recipients. There is also a very valid concern that the

recent sales proceeds would be placed offshore since Brockman currently has access to so


278
    Gov. Ex. 24 at ¶ 65.
279
    Gov. Ex. 24 at ¶ ¶ 64 and 65.
280
    Gov. Ex. 24 at ¶ ¶ 35 and 36.

                                               67
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many foreign bank accounts. This concern is heightened by Brockman’s 20-plus-year

history of hiding his assets using foreign trusts, foreign corporations, and nominees to

layer up ownership.

            3.     Brockman created two offshore trusts with two foreign accounts and
                   funded the trusts from U.S. sources
            In July of 2020 Brockman created two new offshore foreign trusts and opened two

new foreign accounts located in the Cayman Islands. 281 Brockman funded the offshore

trusts and foreign accounts with $100,000 each from U.S. sources. 282 Thus, Brockman

moved $200,000 from U.S. sources to offshore trusts and foreign accounts in the Cayman

Islands. The IRS cannot issue an administrative levy to a foreign entity in the Cayman

Islands to collect a taxpayer’s tax liabilities. This was after Brockmans attorneys

contacted the Department of Justice in April of 2020 seeking to avoid his indictment.

Thus, it reasonably appears that jeopardy exists, because Brockman’s actions placed a

significant amount of his property or funds beyond the government’s reach.

IV.         Brockman’s arguments relating to R & R and the Bermuda litigation are
            incorrect
       A.        Reynolds and Reynolds
            Brockman’s argument that no jeopardy exists because the U.S. theoretically can

collect from R & R but has not made allegations against R & R ignores the legal standard

for jeopardy assessments, the layered foreign ownership of R & R, and Brockman’s

current propensity to dispose of his assets. The IRS does not have to prove that

Brockman is trying to dissipate, remove, or conceal every asset he owns from IRS


281
      Gov. Ex. 1 Agent Paxton’s declaration at ¶¶ 56-60.
282
      Id.

                                                     68
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collection, because the statute contemplates a taxpayer partially removing assets. 283 The

fact that the IRS might be able to collect Brockman’s taxes through R & R through the

use of nominee liens, levies or possibly litigation, does not render the IRS’s jeopardy

determination and assessment invalid. Indeed, Brockman’s argument improperly nullifies

the entire jeopardy statute by suggesting that the government must first prove nominee

ownership and defeat layers of foreign ownership on one asset before ever resorting to

jeopardy procedures to collect other assets.

        Brockman’s assertion that his R & R stock could cover his tax liabilities rings

hollow. To date, Brockman has not (i) pledged his R & R stock to the IRS, (ii) made any

voluntary payments toward his $1.4 billion jeopardy assessments, or (iii) posted a bond

as allowed under Section 6863(a) to stay the collection of the jeopardy assessments. 284

        The ownership of R & R is layered up through an offshore trust and several

offshore companies. The AEBCT (Bermuda) 285 owns Spanish Steps Holdings LLC

(Nevis). Spanish Steps Holdings LLC owns Spanish Steps Holding Ltd. (BVI), which

owns UCSH (Delaware Corp.). UCSH owns 100% of Reynolds & Reynolds. 286 The

layered, complex ownership of R & R supports a finding of jeopardy.

        These entities might sell or transfer all or part of the stock in R & R, just as

Brockman sold his 1% interest in Hardwicke, without the IRS’s knowledge. The layered

ownership of R & R and Brockman’s demonstrated propensity to transfer assets during

283
    26 U.S.C. § 6851(a)(l).
284
    Gov. Ex. 24. Revenue Officer Sandles’ Declaration at ¶ ¶ 26, 27 and 28.
285
    The AEBCT now appears to be in control of a trust company in the tax haven, Cayman Islands.
286
    See Gov. Ex. 1 at ¶ 25, diagram.


                                                  69
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his pending criminal case highlights the difficulty and delay the IRS may have to

navigate in order to collect from R & R, further endangering collection.

   B.      Bermuda litigation
        Brockman also argues there is no jeopardy because the IRS is wrong about the

facts underlying the Bermuda litigation and the AEBCT is controlled by a new,

independent trustee subject to Bermuda law. Brockman’s argument misstates the

standard, glosses over facts, and misses the IRS’s reasonable belief concerning the

Bermuda litigation. The IRS’s belief that the litigation in Bermuda was commenced to

move control over Brockman’s offshore operations to another tax haven (Cayman

Islands) for the purpose of removing Brockman’s offshore assets from IRS collection is

reasonable. The IRS’s belief is not conjecture; rather, it is based on Brockman’s past

actions and suspect timing of the Bermuda litigation.

        As explained, Brockman has a long history of operating and controlling foreign

entities through nominees, despite his hollow assertions that the entities were correctly

formed and the control of the AEBCT purports to be independent. Previously,

Brockman’s offshore structure utilized six foreign trusts, including AEBCT, that were

supposedly controlled by allegedly independent trust companies and trustees. But, in

reality Brockman controlled every foreign trust, every foreign company, and every

foreign account through his nominees, particularly Tamine. The AEBCT owns Spanish

Steps Holdings LLC which owns Point Investments. Point Investment holds (i) $1.3

billion in two Swiss accounts at Mirabaud et Cie, (ii) $110 million in a Swiss account at

Banque SYZ, and (iii) $15 million at Bank of Singapore. These liquid assets are in

                                             70
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foreign accounts in tax haven jurisdictions and can easily be moved to other foreign tax

havens via different accounts under different names, as Brockman has done.

        In January 2017, Brockman was informed that Bermuda Commercial Bank had

frozen certain bank accounts of his offshore entities. Brockman authorized moving

banking relationships and forming “mirror companies” in multiple tax haven

jurisdictions. 287

        In late September 2018, the Bermuda Police Service executed a search warrant on

Tamine’s records. Tamine was the director of SJTC which controlled AEBCT.

Brockman was aware of investigations into his foreign entities. Soon after, the Bermuda

litigation was initiated to change the trustee of AEBCT. Brockman formed Medlands

(PTC) Limited (“Medlands”), incorporating it on July 15, 2019, solely for the purpose of

acting as trustee of the AEBCT. 288

        After Brockman’s indictment, Mrs. Brockman in December 2020 petitioned the

Bermuda courts to appoint Medlands to replace SJTC as the trustee of the AEBCT. 289

James Gilbert (“Gilbert”) was Medlands’ sole director and Medlands replaced SJTC as

trustee of the Trust. Gilbert was Brockman’s long-time associate and nominee, working

for Brockman as early as 2004. When performing tasks for Brockman, Gilbert had the

alias of “Tina Nash” and email code name of “chum.” In 2008, when Gilbert was

working on Brockman’s offshore structure, Brockman assigned him the code name of



287
    Gov Exs. A-63, A-64.
288
    Id. at ¶ 82.
289
    Gov. Ex. 26, Final Judgment, 2020 No. 37, ¶ 9 and ¶ 13.

                                                   71
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“Snapper”. In 2012, Brockman named Gilbert as a backup nominee for Tamine in case

of emergency as Gilbert knew of Brockman’s offshore structures. Mrs. Brockman later

petitioned the Bermuda court to change the trustee from Medlands to BCT Limited in yet

another tax haven, the Cayman Islands. 290 Brockman’s assertion of independent trustee

of a reputable company is suspect and further leads to IRS belief was reasonable. Peter

Goddard appears to be the sole director of BCT which is now the Trustee of AEBCT.

Gov. Ex. 27 at p. Goddard is a past business associate of Brockman through Brockman’s

old nominee Don Jones. 291

        In April 2020, Brockman was aware of the United States’ investigation of his tax

crimes. Thus, in addition to changing the location of the AEBCT trustee to the Cayman

Islands, Brockman initiated litigation in Bermuda to wind up Point Investments and move

its assets to entities in other tax havens. 292 The recent judgment in the petition to wind up

Point Investments appears to chastise the former directors of Point Investments, who

opposed the liquidation of Point Investments at the request United States Department of

Justice, for cooperating and discussing the petition with the United States taxing

authorities. 293 The Bermuda court provides the reason why Point Investments wanted to

liquidate and remain offshore in that taxes due under the laws of a foreign country are

unenforceable in English Courts (Bermuda) and a foreign judgment seeking to recover

taxes under foreign law is likewise unenforceable. 294

290
    Id. at ¶ 5 and ¶ 9.
291
    Gov. Ex. 38 and brief supra at pgs. 9-11. See also Gov. Ex. B-43.
292
    Gov. Ex. 5. 2020 090 29 Petition ¶ J.54.2.
293
    Gov. Ex. 27 at ¶¶ 42, 45-47, 49-53.
294
    Gov. Ex. 27 at ¶ 53.

                                                   72
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        Thus, when Brockman is confronted with government action against him, his

assets, his entities, or his foreign bank accounts, he responds by opening new foreign

accounts, creating new mirror companies to hide his assets, and moving control to other

foreign entities in well-known tax havens. Brockman asserts the IRS is completely

wrong about the Bermuda litigation and no jeopardy exists because the AEBCT is now

controlled by Trustees in the Cayman Islands who are subject to Bermuda law. While

Brockman argues these actions do not rise to jeopardy, the United States observes that

Brockman did not domesticate the AEBCT or its control to the United States. Instead,

through Mrs. Brockman, he moved the AEBCT and its control to another tax haven,

(Cayman Islands), subject to a separate tax haven’s laws (Bermuda) where, as shown

above, a U.S. judgment for taxes may be unenforceable. Based on the above the IRS

reasonably believed it appeared the collection of taxes was in jeopardy, as the Bermuda

litigation was commenced to place control of Brockman’s offshore structure out of the

reach of the United States for taxes by moving it to the Cayman Islands. The test is not

whether the IRS was completely right about, or listed, all the Bermuda litigation, but

whether it is reasonable for the IRS and the Court to believe that it appears Brockman is

making collection of taxes from his assets more difficult.

   C.      Brockman’s thirty-nine count indictment is a factor in determining
           jeopardy
        Brockman dismisses his past acts and the criminal allegations in his indictment as

irrelevant and “unproven”. Yet, involvement in illegal activities, even being under

indictment for criminal tax violations, is a factor the courts consider when determining


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whether a taxpayer’s circumstances appear to be jeopardizing collection of a tax. 295

        Brockman was indicted on seven counts of tax evasion under 26 U.S.C. § 7201 for

the 2012-2018 years, six counts for failing to file an FBAR under 31 U.S.C. §§ 5314 &

5322(b), reporting his foreign accounts, plus additional counts for wire fraud, money

laundering, evidence tampering, and destruction of evidence. The IRS revenue agents,

when determining collection appeared to be in jeopardy, properly reviewed, considered,

and relied in part upon on the allegations raised in Brockman’s indictment. 296 The

United States’ comprehensive indictment against Brockman and his transfers of property

right after his indictment establish the IRS had a reasonable belief, and it is reasonable for

the Court to believe, that it appears collection of taxes is in jeopardy.

                                         CONCLUSION

        Based on the above, the Court should find that the jeopardy assessments and levies

are reasonable, and the tax assessments are appropriate.




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  Harvey, 730 F. Supp. at 1107; Young, 671 F. Supp. at 1343. See also Camp, 635 F. Supp. at 587.
296
  See Bean, 618 F. Supp. at 656–657 (revenue agent can rely on information learned from individuals or
IRS personnel or confidential sources).


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Dated: January 31, 2022
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                            CERTIFICATE OF SERVICE

       I certify that on January 31, 2022, I filed the foregoing document by electronic

means on all parties who have entered an appearance through the Court’s ECF system,

including the following:

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